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                                                                      FILED
                                                                 Jeanne A. Naughton, CLERK

                                                             November 6, 2020
                                                          United States Bankruptcy Court
                                                                    Newark, NJ
                                                    By:
                                                           Juan Filgueiras, Court Room Deputy

                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF NEW JERSEY


                                                     Case No.:         13-12682 VFP
In re:
S B BUILDING ASSOCIATES LIMITED                      Chapter     11
PARTNERSHIP,
                            Debtor.
In re:                                               Case No.:         13-12685 VFP
SB MILLTOWN INDUSTRIAL REALTY
HOLDINGS, LLC,
                            Debtor.

In re:
ALSOL CORPORATION,                                   Case No.:         13-12689 VFP
                                      Debtor.
                                                     Jointly Administered


                             OPINION ON CONFIRMATION

 APPEARANCES

 BERGER & BORNSTEIN, PA                         RABINOWITZ, LUBETKIN & TULLY, LLC
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                                                Attorneys for Debtors

 THOMPSON & KNIGHT, LLP                         GIBBONS P.C.
 Stuart J. Glick, Esq.                          Mark Conlan, Esq.
 900 Third Avenue, 20th Floor                   Thomas Valen, Esq.
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 Attorneys for Cherry Tree Property             One Gateway Center
 and SASS MUNI IV, V, and VI                    Newark, NJ 07102-5310
                                                Attorneys for Boraie Development
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  OFFICE of the UNITED STATES TRUSTEE                  NORRIS MCLAUGHLIN, P.A.
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 VINCENT F. PAPALIA, Bankruptcy Judge

    I. INTRODUCTION

        In these cases, the Court is faced with an unusual, if not unique, situation. The Plans

 proposed by these Debtors (collectively, the “Plan”): (a) provide for a 100% dividend to unsecured

 creditors, with interest; (b) were overwhelmingly accepted by every secured and unsecured class

 that voted; (c) the classes of secured creditors that did not vote -- the EPA, Milltown and certain

 tax lien certificate holders -- have either entered into settlements with the Debtors and/or are being

 paid in full, are retaining their liens and have not objected to the Plan; and (d) at least as

 importantly, the Plan is based upon settlements that resolve complex, multiparty litigations with

 the EPA, the Sass Parties and Milltown that have been pending for many years. Those settlements

 will put to an end hotly contested, multimillion dollar claims by and against the Debtors and were

 entered into only after hard-fought negotiations and multiple mediation sessions.

        Against that backdrop, two parties interposed substantial and, for the most part, well

 founded objections: Boraie Development, LLC (“Boraie”) and the Office of the United States

 Trustee (“UST”), with Boraie being the only objecting creditor. As for Boraie, it is participating

 in this case by virtue of purchasing claims against two of the three Debtors, Alsol and S B Building

 (but not SB Milltown), totaling approximately $108,000. As noted, those claims are proposed to

 be paid in full, with interest. The natural question then becomes why is Boraie objecting.

        The answer lies outside typical debtor-creditor relations.         Boraie is the designated

 Redeveloper of the Debtors’ Properties (as defined below). Boraie and the Debtors have been

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 enmeshed in protracted litigation revolving around the development of the Debtors’ Properties in

 the trial and appellate courts of New Jersey for nearly fifteen years. Significantly, the Debtors’

 Plan expressly leaves unaffected Boraie’s rights against the Debtors as Redeveloper and with

 respect to the pending State Court litigation. The UST has no direct economic stake in this (or any

 other) bankruptcy proceeding but is properly exercising its statutory right and duty to oversee

 bankruptcy proceedings and enforce the bankruptcy laws.            In sum, the objections here –

 substantive though they may be – are being made by a creditor that is to be paid in full, but which

 also has a very different and primary interest that it is pursuing as the Redeveloper of the Debtors’

 Properties, and the UST, who is not a creditor at all.

        Boraie and the UST argue that the Debtors’ Plan is unconfirmable as a matter of law and

 fact for numerous reasons and that these cases should be converted to cases under Chapter 7 or

 that a Chapter 11 Trustee should be appointed. The objections of Boraie and the UST may be

 summarized as follows:

            1. The Debtors will be unable to pay administrative expenses required under the Plan
               in full on the Effective Date (or as may otherwise be agreed by administrative
               claimants);

            2. The Debtors’ Plan is not feasible for various reasons, including the lack of sufficient
               capital and available cashflow from the Debtors and its “backstop” – United States
               Land Resources, Inc. (“USLR”) – to fund the initial, installment and balloon
               payments due under the Plan;

            3. The Plan was not proposed in good faith and not by any means forbidden by law;

            4. The continued management of the Debtors by Lawrence S. Berger is not in the
               interests of creditors or the public;

            5. The provisions of the Plan and Global Settlement (as defined below) that call for
               cross-collateralization are not permitted as a matter of law;

            6. The provisions of the Plan and Global Settlement that call for temporary or
               “deemed” substantive consolidation are also not permitted as a matter of law;



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              7. The Plan is being funded (at least in part) by alleged fraudulent transfers;

              8. The Plan may be confirmed only under 11 U.S.C. § 1129(b) because not all
                 impaired classes have affirmatively voted to accept the Plan – i.e., the EPA,
                 Milltown, the tax lien certificate holders – as required for confirmation under 11
                 U.S.C. § 1129(a)(8). Thus, section 1129(b) applies, and the Plan does not satisfy
                 its “fair and equitable” and “no unfair discrimination” requirements, principally
                 because of the Plan’s consolidation and/or cross-collateralization provisions and
                 the related argument that the Plan violates the absolute priority rule.

           The Court will address each of these arguments following a discussion of the lengthy

 procedural and factual history of these cases.

     II.      GENERAL BACKGROUND

           This Opinion is being issued after trial on the vigorously contested confirmation hearing

 of three jointly administered Chapter 11 cases, In re S B Building Limited Partnership (“S B

 Building”) Case No. 13-12682 (VFP); In re SB Milltown Industrial Realty Holdings, LLC (“SB

 Milltown”) Case No. 13-12685 (VFP); and In re Alsol Corporation (“Alsol”) Case No. 13-12689

 (VFP) (collectively, the “Debtors”). The trial took place intermittently over ten days and was

 followed by a change of counsel for the Debtor, two rounds of post-trial briefings, two motions to

 reopen the hearing in order to supplement the trial record (one granted and one granted in part),

 and one motion to strike certain testimony of Debtor’s principal (granted in part).1 Additionally,

 during the trial, the evidentiary hearings were suspended for an extended period while the parties




 1
  The trial transcripts referenced throughout this Opinion are defined in the following manner:
 Trial Tr. vol. 1, Apr. 26, 2018, Dkt. No. 515.
 Trial Tr. vol. 2, May 4, 2018, Dkt. No. 516.
 Trial Tr. vol. 3, May 16, 2018, Dkt. No. 521.
 Trial Tr. vol. 4, May 23, 2018, Dkt. No. 534.
 Trial Tr. vol. 5, June 20, 2018, Dkt. No. 544.
 Trial Tr. vol. 6, Aug. 15, 2018, Dkt. No. 575.
 Trial Tr. vol. 7, Sept. 17, 2018, Dkt. No. 584.
 Trial Tr. vol. 8, Mar. 27, 2019, Dkt. No. 621.
 Trial Tr. vol. 9, Apr. 8, 2019, Dkt. No. 624.
 Trial Tr. vol. 10, Apr. 10, 2019, Dkt. No. 625.

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 engaged in settlement discussions among themselves, as well as with the Court (with the consent

 of the parties), that were ultimately unsuccessful.

               As noted, the two primary objecting parties are Boraie, which was appointed prepetition as

 Redeveloper of the Debtors’ Properties, and the UST. The Court-appointed examiner, Frank A.

 Pina, and his retained attorneys and accountants, Trenk, DiPasquale, Della Fera & Sodono, P.C.,

 and Mercadien, P.C., respectively, also have a standing Objection preserved under a December 18,

 2018 Consent Order for the payment of their fees in the capped amount of $400,000.

               Tax certificate holders Cherry Tree Property, LLC; Sass Muni IV, LLC; Sass Muni V,

 LLC; and Sass Muni VI, LLC (collectively, “Sass”) filed a June 14, 2019 letter of counsel in

 support of confirmation.2 The United States Environmental Protection Agency (the “EPA”) also

 filed a letter in support of the Global Settlement, which is the cornerstone of the Debtors’ Plan.

 Subsequently, the EPA advised the Court that it had no objection to confirmation of the Plan.3

        III.      JURISDICTIONAL STATEMENT

               The Court has jurisdiction over this matter under 28 U.S.C. § 1334(b) and the Standing

 Orders of Reference entered by the United States District Court on July 10, 1984 and amended on

 September 18, 2012. This is a core proceeding under 28 U.S.C. § 157(b)(2)(A), (L) (confirmation

 of plans) and (O). Venue is proper in this Court under 28 U.S.C. § 1408. The Court issues the

 following findings of fact and conclusions of law pursuant to Fed. R. Bankr. P. 7052. To the extent

 that any of the findings of fact might constitute conclusions of law, they are adopted as such.

 Conversely, to the extent that any conclusions of law constitute findings of fact, they are adopted

 as such.



 2
     June 14, 2019 Stuart J. Glick, Esq. Letter, Dkt. No. 638.
 3
     Nov. 6. 2017 Andrew Keir, Esq. Letter, Dkt. No. 436.


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     IV.      STATEMENT OF FACTS

     A. General Background

           The Debtors together own twenty-four acres of contiguous property in the Borough of

 Milltown, Middlesex County, New Jersey (collectively, the “Properties”), formerly zoned for

 industrial use and once used in part as a Michelin tire facility.4 Alsol acquired its tracts of the

 property in 1940s; S B Building in 1986; and SB Milltown in 2004.5 The S B Building tracts

 include commercial buildings, a single-family home and vacant land.6 The SB Milltown tracts

 include one building leased to an unrelated tenant; other buildings were demolished.7 All buildings

 on the Alsol tract are demolished, and none were under lease during this Chapter 11 case.8 The

 three Debtors had a total of two tenants as of March 27, 2019.9 The Debtor(s) acquired these

 Properties for commercial investment, both (i) to be operated as commercial or industrial rentals;

 and (ii) to be redeveloped for commercial and/or residential use.10 Lawrence S. Berger, Esq. (“Mr.

 Berger”) signed the petition of each of the three Debtors “as authorized agent or as President.”11

 The Debtors described their ownership structure a follows:

           S B Building wholly owns co-debtors SB Milltown and Alsol.

           S B Building is owned 50% by Success Treuhand GMbH (limited partner); and
                                 50% by S B Building GP, LLC.

 The Disclosure Statement describes Mr. Berger as a general partner of S B Building GP, LLC.12

           Debtor S B Building is also the sole owner of:



 4
   Fourth Modified Disclosure Statement, Art. II.A.2, at 7-8, Dkt. No. 483 (“Fourth Modified DS”).
 5
   Fourth Modified DS, Art. II.A.1, at 6, Dkt. No. 483.
 6
   Debtor Br. ¶ 20, Dkt. No. 637.
 7
   Debtor Br. ¶ 21, Dkt. No 637.
 8
   Debtor Br. ¶ 22, Dkt. No. 637.
 9
    Debtor Br. ¶ 28, Dkt. No. 637.
 10
    Debtor Br. ¶ 25, Dkt. No. 637.
 11
    UST Proposed Statement of Facts ¶ 6, Dkt. No. 641 (“UST Facts”).
 12
    Fourth Modified DS, Art. II.B, at 8, Dkt. No. 483.

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          (i)      388 Route 22 Readington Holdings, LLC (“388 Route 22”), which owns a vacant
                   60,000 square foot building on six acres and which the Debtors estimated had a
                   value of $6 million, with $3 million in liabilities and was the debtor in Case No. 13-
                   26699 (MBK) (Chapter 11). That case was confirmed on October 7, 2015.
                   Subsequently, 388 Route 22 defaulted under its confirmed plan and filed a second
                   case in 2018.13 That later case was converted to Chapter 7, and the 388 Route 22
                   property was sold by the Chapter 7 Trustee over that debtor’s objection for a price
                   of $3.2 million.14

          (ii)     Route 35 Wall Holdings, LLC, which owned a vacant 80,000 square-foot building
                   on eight acres and which the Debtors estimated to have a value of $7 million, with
                   $7 million in liabilities. Sass Muni VI, LLC, which is also Debtors’ creditor (among
                   other Sass Muni entities), took title to the property on a tax foreclosure. Route 35
                   Wall Holdings, LLC has no other assets.15

      B. Pre- and Post-Petition Litigation History

          These Debtors were involved in multiple complex litigations both pre- and post-petition,

 all of which are being resolved by the Global Settlement (except for the litigation with Boraie).

 The following summary of the Debtors’ extensive pre- and post-petition litigation history is

 derived from the submissions of the parties in these cases.

          (1) The Mount Laurel and Condemnation Litigation

          In a May 8, 2001 resolution, the Borough of Milltown (“Milltown”) designated the

 Debtors’ Properties as a Redevelopment Site.16 Milltown created the Ford Avenue Redevelopment

 Agency (the “Agency”) on September 10, 2001 and passed an ordinance on April 22, 2002 to

 promote the development of the site.17 After further municipal proceedings in 2002 (requests for

 proposals and the like), Milltown designated Boraie to be the redeveloper (the “Redeveloper”) of

 the site under an original Redevelopment Agreement dated May 11, 2004 (amended thereafter).18


 13
    In re 388 Route 22 Readington Holdings, LLC, Case No. 18-30155 (KCF) (Ch. 11).
 14
    Jan. 29, 2019 Sale Order, Dkt. No. 119, Case No. 18-30155 (KCF).
 15
    Fourth Modified DS, Art. IBM, at 8, Dkt. No. 483.
 16
    Boraie’s Objection to the Debtors’ motion to approve settlement with the Sass Entities ¶ 6, June 20, 2017, Dkt. No.
 337 (“Boraie Obj.”). It is accompanied by the Declaration of Mark B. Conlon, Esq., which serves as an index to
 Boraie’s Exhibits, Dkt. No. 337-1 (“Conlon Decl.”).
 17
    Boraie Obj. ¶¶ 7-8, Dkt. No, 337.
 18
    Boraie Obj. ¶ 9; May 11, 2004 Redevelopment Agreement, at 2, Ex. A, Dkt. No. 337.

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 Boraie filed an application for approval of its site development plan, but before that process was

 complete, Debtors filed a November 30, 2006 five-count Complaint in Superior Court of New

 Jersey, Law Division, Middlesex County, Dkt. No. MID-L-9439-06 against Milltown, Boraie,

 Middlesex County (and subdivisions thereof) for the following declaratory and injunctive relief

 (the “Mount Laurel Litigation”):

                 (1)      granting a Mt. Laurel builder’s remedy to increase permitted
                          density on Debtors’ property;

                 (2)      declaring that Defendant Boraie has no standing to pursue and/or
                          obtain any approval from the Defendant Planning Board;

                 (3)      prohibiting the Agency from pursuing and/or obtaining a New
                          Jersey Department of Environmental Protection (NJDEP) Letter of
                          Interpretation (LOI);

                 (4)      declaring that Defendant Boraie’s agreement to contribute $1
                          million for a new fire house [a provision of the May 11, 2004
                          Redevelopment Agreement] is an illegal exaction prohibited under
                          the Municipal Land Use Law (MLUL); and

                 (5)      enjoining the Defendant County from condemning a four-acre
                          portion of the Site for public open use.19

          On Defendants’ motion for summary judgment, by Decision and Order entered on June 12,

 2007, the State Court dismissed Counts 2, 3 and 4 with prejudice; dismissed Count 5 without

 prejudice; and preserved Count 1, the Mount Laurel builder’s remedy claim.20 The State Court

 conducted a four-day bench trial on Count 1 in June 2011 and entered a written opinion on October




 19
    Conlon Decl., June 12, 2007 Decision and Order on Debtors’ Order to Show Cause (Hurley, J.), Ex. B, Dkt. No.
 337-1. The Defendants named in the caption of this Decision and Order are: (i) Borough of Milltown; (ii) Mayor and
 Counsel of the Borough of Milltown; (iii) Planning Board of the Borough of Milltown; (iv) Boraie Development,
 LLC; (v) Milltown Ford Avenue Redevelopment Agency; (vi) County of Middlesex; (vii) Board of Chosen
 Freeholders of the County of Middlesex.
 20
    Conlon Decl., June 12, 2007 Decision and Order, at 31, 37-38, Ex. B, Dkt. No. 337-1. The “builder’s remedy”
 appears to be an equitable relief granted a developer in Mount Laurel Litigation. Toll Bros., Inc. v. Twp. of W. Windsor,
 173 N.J. 502, 559 (2002).

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 12, 2011.21 A January 18, 2012 Order for Municipal Compliance, in most relevant part, fixed the

 project at “at least 350 residential units [lower than the 562 units which Mr. Berger sought in the

 original Complaint], of which at least 70 will be designated as low and moderate income units

 . . .” and fixed a deadline for Milltown and Boraie to submit an Amended Redevelopment

 Agreement.22

         The January 18, 2012 Order also found Debtors “not entitled to a site-specific builder’s

 remedy, but . . . entitled to the remedies set forth” in the State Court’s October 12, 2011 Opinion.23

 Milltown and Boraie entered a February 14, 2013 Amended Redevelopment Agreement (“ARA”)

 to develop not more than 350 units (even though the State Court’s Order clearly set this number

 as a minimum).24

         At this time, the Debtors had just filed their voluntary Chapter 11 petitions on February 11,

 2013. The Mount Laurel Litigation continued during the course of these bankruptcy cases and

 included one or more appeals in State Court.25 Debtors, on one side, and Borough of Milltown

 and Ford Avenue Redevelopment Agency, on the other, entered an April 20, 2014 Stipulation and

 Consent Order in the Bankruptcy Court to allow the latter two to undertake “eminent

 domain/condemnation proceedings” in the State Court (the “Condemnation Litigation”).26 The

 Condemnation Litigation did not commence until November 22, 2019 and is apparently ongoing.27



 21
    This update is recited in the State Court’s Jan. 18, 2012 Order for Municipal Compliance, at 2, Conlon Decl., Ex.
 C, Dkt. No. 337-1.
 22
    Conlon Decl., Jan. 18, 2012 Order ¶ 5b, Ex. C, Dkt. No. 337-1; Conlon Decl., June 12, 2007 Decision and Order,
 at 24 (as to Mr. Berger’s seeking 562 units), Dkt. No. 337-1.
 23
    Conlon Decl., Jan. 18, 2012 Order ¶ 4, Ex. C, Dkt. No. 337-1.
 24
    Boraie Obj. ¶ 10 (which also says: “will not exceed 350 units”), Dkt. No. 337; Conlon Decl., Feb. 14, 2013 Am.
 Redevelopment Agreement, at 6 § 1.1, Ex. A, Dkt. No. 337-1.
 25
    Fourth Modified DS, Art. II.E.4, at 11-13, Dkt No. 483; and Ex. D-5.
 26
    Apr. 20, 2014 Consent Order ¶ 2, Dkt. No. 117.
 27
    Dec. 6, 2019 Declaration of Mark B. Conlon, Esq., in support of Boraie’s motion to reopen record, Verified
 Complaint in Condemnation filed Nov. 22, 2019 by The Milltown-Ford Avenue Redevelopment Agency, Dkt. No.
 MID-L-007979-19, Ex. E, Dkt. No. 720-1; Dec. 13, 2019 Order granting in part and denying in part Boraie’s motion
 to reopen record ¶ 2, Dkt. No. 723.

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 The Mount Laurel Litigation, the Condemnation Litigation and all related proceedings are

 collectively referred to as the “State Court Litigation.”

          (2) The Environmental Protection Agency Litigation

          The claims of the EPA against the Debtors have had a significant impact on these cases,

 including the Debtors’ ability to confirm the Plan. A summary of the EPA’s relationship with the

 Debtor is set forth in the November 6, 2017 letter of U.S. Attorney Andrew Keir, Esq. in support

 of the Debtor’s Fourth Modified Disclosure Statement and Plan.28

          In 2004, the EPA responded to a report of contamination at the property of Debtor Alsol

 (site of the former Michelin tire facility).29 EPA issued a September 2005 Administrative Order

 to Debtor Alsol under the Comprehensive Environmental Response, Compensation, and Liability

 Act of 1980 (“CERCLA”) to remediate the Property.30 Alsol did some work, but according to the

 EPA, did not comply with the Administrative Order, and EPA decided in December 2008 to

 undertake the work itself.31 The EPA commenced an action against Debtor Alsol to gain access

 to the site (United States v. Alsol Corp., Dkt. No. 2:09-cv-03026 (D.N.J.) (“Alsol I”). The District

 Court granted EPA access to the site on July 24, 2009, and EPA completed its work on January

 22, 2010.32 While on the premises, the EPA noted and completed asbestos remediation at another

 Debtor property on November 12, 2010.33 The cost to EPA of both projects was $3,230,464.79.34

          On July 26, 2011, the District Court in Alsol I granted the EPA a Consent Decree for

 $200,000 in civil penalties for Debtors’ refusal to provide access to the Property.35 On February



 28
    Andrew Keir Letter, Nov. 6, 2017, Dkt. No 436, (“EPA Letter”).
 29
    EPA Letter, at 2.
 30
    EPA Letter, at 2.
 31
    EPA Letter, at 2.
 32
    EPA Letter, at 2.
 33
    EPA Letter, at 2.
 34
    EPA Letter, at 2.
 35
    EPA Letter, at 2. The July 26, 2011 Consent Decree was directed to Alsol, S B Building, and affiliated non-Debtors.

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 11, 2013, before those Debtors were scheduled to begin installment payments on the Consent

 Decree, the Debtors filed the instant bankruptcy petitions.36 The EPA sued the non-Debtor

 defendants in Alsol I for payment and was granted a May 9, 2014 judgment for enforcement in the

 amount of $896,751.79 (for interest and stipulated penalties), which the Third Circuit affirmed on

 August 7, 2015.37

          Shortly prepetition, in January 2013, the EPA sued Debtors Alsol, S B Building, and other

 non-Debtor affiliates a second time in order to recover its remediation expenses from Alsol I

 (United States v. Alsol Corp., Dkt. No. 2:13-cv-00380 (D.N.J.) (“Alsol II”).38 Discovery was

 pending in Alsol II when the Debtors and EPA entered a Consent Decree to resolve Alsol II and

 incorporated that Consent Decree into the May 15, 2017 Global Settlement that is in turn

 incorporated into the Fourth Modified Disclosure Statement and Plan, which are the subject of this

 confirmation.39 In time, the EPA filed three somewhat overlapping proofs of claim (based in part

 on an alter ego theory) against the Debtors with the following components:

          In re S B Building, Case No. 13-12682
          Claim No. 13-1        $ 209,299.38           civil penalties and interest Alsol I (unsec.)
                                $3,230,464.79          remediation expense that is the subject of
                                                       Alsol II (secured per 42 U.S.C. § 9607(l))

          In re SB Milltown, Case No. 13-12685
          Claim No 8-2         $ 314,752.00            civil penalties and interest Alsol I (sec.)

          In re Alsol, Case No. 13-12689
          Claim No. 8-2          $ 209,299.38          civil penalties and interest Alsol I (unsec.)
                                 $3,230,464.79         remediation expense that is the subject of
                                                       Alsol II (secured per 42 U.S.C. § 9607(l))40




 36
    EPA Letter, at 2.
 37
    EPA Letter, at 2.
 38
    EPA Letter, at 2-3.
 39
    EPA Letter, at 3.
 40
    EPA Letter, at 3.

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             The EPA also initiated an adversary proceeding in this case against Milltown and certain

 tax lien holders, including Sass, to determine the lien priority between and among EPA, Milltown

 and these tax lien holders (the “EPA Lien Priority Litigation”). Debtor Alsol intervened in this

 action.41 Alsol I, Alsol II (via the Consent Decree), the EPA’s claims (fixed by settlement at $2.45

 million, as described below) and the EPA’s Lien Priority Litigation (collectively, the “EPA

 Litigation”) were all resolved, subject to this Court’s approval, by the May 15, 2017 Global

 Settlement that is described below and is incorporated into the Fourth Modified Plan, for which

 the Debtor seeks confirmation.42

             (3) The Cherry Tree/Sass Muni Litigation

             Four tax lien holders, (i) Sass Muni IV, LLC; (ii) Sass Muni V, LLC; (iii) Sass Muni VI,

 LLC; and (iv) Cherry Tree Property, LLC (collectively, “Sass”), have functioned as a unitary

 creditor and party-in-interest in these cases. Beginning in 1996, the three Sass entities purchased

 a number of tax liens against Debtors’ Properties.43 Over time, Sass Muni IV and Sass Muni V

 assigned these liens to Cherry Tree.44 In 2011 and 2012, Sass filed foreclosure actions in Superior

 Court of New Jersey, Chancery Division, Middlesex County.45 Although some certificates were

 redeemed, a number were outstanding on the February 11, 2013 petition date.46 On June 27, 2014,

 Sass moved for stay relief in the Bankruptcy Court on the grounds:

      (i)       that Debtors owed Sass $5,091,657.24 under the tax certificates, including interest and
                penalties as of the petition date;

      (ii)      that Debtors failed to pay an additional $900,189.74 in prepetition taxes; and
                $354,107.12 in post-petition taxes;


 41
    Compl. filed Sept. 3, 2015, Dkt. No. 1; Feb. 23, 2016 Consent Order, Dkt. No. 16.
 42
    EPA Letter, at 4, Dkt. No. 436.
 43
    Sass’s Motion for Stay Relief (uncertified statement; motion “verified” by Kirk Allison, manager of each of the tax
 claimants) ¶ 5, June 27, 2014, Dkt. No. 123 (“Sass Appl.”).
 44
    Sass Appl. ¶ 5.
 45
    Sass Appl. ¶ 7.
 46
    Sass Appl. ¶ 6.

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      (iii)     that Debtors owed the EPA $3,585,834.95 as a secured claim;

      (iv)      that the Property was valued at $8.3 million in the May 30, 2013 Appraisal
                commissioned by Sass;47 and

      (v)       that Mr. Berger testified in an April 23, 2014 deposition conducted by Sass in a tax
                foreclosure proceeding that he made a deliberate decision not to pay taxes, opining that
                “borrowing . . . money from the municipality and the tax lien holder” in this manner
                “is a perfectly legitimate way to finance real estate.”48

 Mr. Berger’s testimony during the confirmation hearing as to the Debtors’ decision not to pay real

 estate taxes as a financing vehicle was to the same effect.49 Sass’s stay relief motion (to which the

 Debtors and the EPA objected) was repeatedly adjourned based on the parties’ settlement

 discussions and was ultimately resolved by the settlements on which the subject Fourth Modified

 Plan of Reorganization depends.50

             On June 24, 2014 (three days before Sass filed the above stay relief motion), the Debtors

 filed a two-count Adversary Complaint against Sass (the “Sass Litigation”), primarily under

 N.J.S.A. § 54:5-63.1 (alleging “[e]xcessive charges or fees charged by tax sale certificate holder

 on redemption; forfeiture”), charging Sass with “bid rigging” (participating with others to

 manipulate tax certificate sales in order to inflate interest and penalties).51 As a remedy, Debtors

 sought to compel Sass to forfeit the tax certificates and to reduce or disallow Sass’s proofs of

 claim.52 On Sass’s motion to dismiss, the Court allowed the Debtors to file an Amended Complaint

 (adding counts for anti-trust, RICO and consumer fraud).53                        Sass answered the Amended

 Complaint on February 2, 2015.54


 47
    Patrick B. Ard Decl., May 30, 2013 Appraisal, Ex. A, Dkt. No. 123-13.
 48
    Sass Appl. ¶¶ 21-27, 28; Apr. 23, 2014 Dep. Tr. 65:24-66:1, Ex. F, Dkt. No. 123.
 49
    Mr. Berger testified on direct examination on the first day of trial: “As I think I’ve testified before in this Court,
 USLR has always used non-payment of real estate taxes as a way to finance real estate,” Trial Tr. vol. 1, 91:18-20.
 50
    Debtor Obj., Dkt. No. 150; EPA Obj., Dkt. No. 131.
 51
    Compl., Dkt. No. 1, Adv. Pro. No. 14-1582.
 52
    Compl., Dkt. No. 1, Adv. Pro. No. 14-1582.
 53
    Am. Compl., Dkt. No. 12; Answer to Am. Compl., Dkt. No. 13, Adv. Pro. No. 14-1582.
 54
    Am. Compl., Dkt. No. 12; Answer to Am. Compl., Dkt. No. 13, Adv. Pro. No. 14-1582.

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          At that point, on March 6, 2015, the United States, on behalf of the EPA, moved to

 intervene in the Sass Litigation in order to stay discovery and to preserve its right to file an

 Adversary Complaint to challenge the proofs of claim filed by Sass.55 The EPA was then

 prosecuting a criminal bid-rigging case, United States v. Wolfson, Dkt. No. 2:13-cr-00748-FSH

 (D.N.J. Nov. 19, 2013) and wanted the Wolfson case to finish first, in part so not “to improperly

 broaden the discovery available to criminal Defendants.”56 While the EPA motion for intervention

 was pending, Sass filed an April 20, 2015 motion for summary judgment to dismiss the Amended

 Complaint.57 The parties (Sass, Debtors, EPA) entered a July 6, 2015 Consent Order allowing

 intervention and granting related relief.58 Debtors cross-moved for summary judgment on July 30,

 2015; Sass replied; and EPA moved for leave to file an amicus brief.59 Those motions were

 repeatedly adjourned based on the parties’ settlement discussions and were ultimately resolved by

 the settlements on which the subject Fourth Modified Plan of Reorganization depends.

          (4) The EPA Lien Priority Litigation

          On September 3, 2015, pursuant to the July 6, 2015 Consent Order referenced above, the

 EPA filed an Adversary Complaint against Sass and the Borough of Milltown to establish the

 priority of its lien on Debtors’ Properties as among Sass, Milltown and EPA.60 EPA asserted that

 it had worked to clean hazardous waste from the Property of Debtor Alsol (the site of the former

 Michelin tire facility) beginning at least by January 2004 and that a lien for cleanup costs in favor



 55
    EPA Br., at 2, Dkt. No. 14-1, Adv. Pro. No. 14-1582.
 56
    EPA Br., at 2, Dkt, No. 14-1, Adv. Pro. No. 14-1582. Though Defendant Wolfson was not directly involved with
 the Debtors’ Properties, EPA opined that the Wolfson trial “is likely to elucidate relevant facts respecting the alleged
 bid-rigging conduct” and that defendants and witnesses in the Wolfson matter may have knowledge. Id. at 3-4.
 57
    Sass Motion for Summary Judgment, Dkt. No. 18, Adv. Pro. No. 14-1582.
 58
    July 6, 2015 Consent Order, Dkt. No. 20, Adv. Pro. No. 14-1582. This Consent Order, which also set the deadline
 by which EPA was to sue Sass, was renewed by Consent Orders entered on Jan. 22, 2016, Dkt. No. 33; Mar. 4, 2016,
 Dkt. No. 36, Adv. Pro. No. 14-1582.
 59
    Sass Cross-motion, Dkt. No. 24; Debtors Reply, Dkt. No. 26; EPA Amicus, Dkt. No. 22, Adv. Pro. No. 14-1582.
 60
    Compl., Dkt. No. 1, Adv. Pro. No. 15-2149.

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 of EPA affixed to the Property on November 5, 2004, when EPA first sent a notice of liability to

 Alsol under 42 U.S.C. § 9607(1)(2).61 The EPA asserted that it docketed its lien with the Clerk of

 Middlesex County, New Jersey, on March 29, 2007.62 The EPA’s cleanup activity continued

 through 2010.63 The EPA Complaint laid out a meticulous chronology for the accrual of the Sass

 and Milltown liens, both before and after the November 5, 2004 date on which EPA asserts its lien

 affixed to the Property.64 As of the February 11, 2013 petition date, Debtors’ liability to EPA had

 grown to $3,021,951.50 (plus $137,002.25 in prejudgment, prepetition interest).65 The EPA then

 filed Claim No. 13-1 on August 9, 2013 for $3,585,835 and Amended Claim No. 13-2 on

 December 1, 2014 for $3,439,764.66

         These parties entered a February 23, 2016 Consent Order allowing Debtor Alsol to

 intervene in the EPA action against Sass and Milltown.67 Defendant Sass filed a motion for partial

 summary judgment on May 11, 2016, limited to a declaration that its liens had priority over those

 of EPA (without liquidating the value of Sass’s liens).68 The motion was fully briefed and was

 also repeatedly adjourned based on the parties’ settlement discussions and was also resolved by

 the settlements on which the subject Fourth Modified Plan of Reorganization depends.

         (5) The Bankruptcy Case (and On-Going Litigation)

         The Debtors filed their instant, voluntary Chapter 11 petitions on February 11, 2013. The

 Court entered an Order for joint administration on June 5, 2013.69 In their first motion to extend


 61
    Compl. ¶¶ 10, 15, Dkt. No. 1, Adv. Pro. No. 15-2149.
 62
    Compl. ¶ 16, Dkt. No. 1, Adv Pro. No. 15-2149.
 63
    Compl. ¶ 10, Dkt. No. 1, Adv. Pro. No. 15-2149.
 64
    Compl. ¶¶ 17-43, Dkt. No. 1, Adv. Pro. No. 15-2149.
 65
    Compl. ¶ 11, Dkt. No. 1, Adv. Pro. No. 15-2149.
 66
    Claim Nos. 13-1 and 13-2.
 67
    Feb. 23, 2016 Consent Order, Dkt. No. 16, Adv. Pro. No. 15-2149. The Court also granted the motion of the New
 Jersey State League of Municipalities and the Tax Collectors & Treasurers’ Association of New Jersey to appear as
 amicus, May 20, 2016 Order, Dkt. No 23, Adv. Pro. No. 15-2149.
 68
    Sass’s Motion for Summary Judgment, May 11, 2016, Dkt. No. 22, Adv. Pro. No. 15-2149.
 69
    Order for Joint Administration, June 5, 2013, Dkt. No. 24.

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 exclusivity, Debtors asserted that the Properties had an aggregate market value “in excess of

 $12,000,000.”70 An August 23, 2013 Order required the Debtors to file a Disclosure Statement

 and Plan by October 31, 2013.71 The Court also entered a September 10, 2013 Order on Debtors’

 motion extending exclusivity to October 31, 2013 without prejudice to further extensions.72 On

 October 31, 2013, the Debtors filed their original Disclosure Statement and Plan.73

          In that Disclosure Statement, the Debtors opined that the aggregate market value of the

 Debtors’ Milltown Property was $20 million (without accounting for the value of assets owned by

 388 Route 22).74 The original Disclosure Statement generally proposed to pay both secured and

 unsecured claims in quarterly payments over five years with a twenty-five-year amortization

 schedule and a balloon payment at earlier of (i) the closing of sale of the Properties; or (ii) the end

 of the five-year period, with monthly payments paid by the Debtors’ affiliate, USLR, to the extent

 rents were insufficient to cover them.75 The Debtors did not indicate how they would make the

 balloon payment if it did not sell the properties. The Debtors intended to object to the claims of

 Sass, EPA and IRS.76 The original Disclosure Statement drew objections from Sass and from

 EPA.77

          The Debtors filed a First Modified Disclosure Statement and Plan on January 10, 2014.78

 Here, Debtors stated that Boraie had offered Debtor $7.5 million for the Debtors’ Properties one-

 and-one-half years earlier, but that Debtors believed that the Properties’ value “exceeds $20MM”



 70
    Motion to Extend Exclusivity ¶ 8, Dkt. No. 22-1.
 71
    Aug. 23, 2013 Order, Dkt. No. 45 (it is not clear what motion, if any, generated this Order).
 72
    Sept. 10, 2013 Order, Dkt. No. 47.
 73
    DS and Plan filed Oct. 31, 2013, Dkt. Nos. 62 and 61 (the three Debtors, here and afterwards, were consolidated
 into one DS and Plan with classes still distinguished on a per-debtor basis).
 74
    DS, Art. II.F.1, at 11, Dkt. No. 62.
 75
    DS, Art. III, at 16-39, Dkt. No. 62.
 76
    DS, Art. III.E.4, at 32, Dkt No. 62.
 77
    Sass Obj., Dec. 3, 2013, Dkt. No. 71; EPA Obj., Dec. 4, 2013, Dkt. No. 72.
 78
    First Modified DS, Dkt. No. 78; First Modified Plan, Dkt. No. 77.

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 and opined that a condemnation proceeding anticipated by the Debtors would take two years to

 complete.79 The Debtors proposed largely the same treatment of claims as previously (quarterly

 payments over five years, twenty-five-year amortization, balloon payment paid by sale of the

 Properties) with the addition of a loan from USLR as necessary to meet Debtors’ obligations.80

 Debtors still planned to object to the claims of Sass, EPA and IRS.81 The First Modified Disclosure

 Statement drew objections from Sass and the EPA.82 At the hearing on February 6, 2014, the Court

 required further modification in short order (by February 28, 2014) and declared that the Court did

 not expect to conduct another hearing on Disclosure Statement.83

         The Debtors did not send the Court a Draft Second Modified Disclosure Statement until

 September 5, 2014 and requested a further hearing on the Disclosure Statement.84 The Debtors

 proposed largely the same treatment of claims as previously (quarterly payments over five years,

 twenty-five-year amortization, balloon payment paid by sale of the property) with the addition of

 an unsecured loan from USLR as necessary to meet Debtors’ obligations and an escrow from

 USLR for the Debtors’ first year of Plan obligations plus real estate taxes.85 Debtors still planned

 to object to the claims of Sass, EPA and IRS.86 The Second Modified Disclosure Statement drew

 an objection from Sass only.87 A docket entry for March 9, 2015 indicates that a hearing on the

 Second Modified Disclosure Statement was held on that date and a further amendment required.




 79
    First Modified DS, Art. II.F.2, at 11, Dkt. No. 78.
 80
    First Modified DS, Art. III.C, at 19-31; Loan at Art. III.D.1, at 31, Dkt. No. 78.
 81
    First Modified DS, Art. III.E.4, at 33, Dkt. No. 78.
 82
    Sass Obj., Dkt. No. 89; EPA Obj., Dkt. No. 88.
 83
    Feb. 6, 2014 Hr’g Tr., 27:3-29:12, especially 28:6-23, Dkt. No. 97. Chief Judge Kaplan presided over these cases
 until mid-2015, when they were reassigned to this Court.
 84
    Sept. 5, 2014 Letter, at 1-3; Draft Second Modified DS and Plan, Dkt. No. 133.
 85
    Second Modified DS, Art. III.C, at 24-38; Loan at Art. III.D.1, at 38, Dkt. No. 149.
 86
    Second Modified DS, Art. III.E.4, at 40, Dkt. No. 149.
 87
    Sass Obj., Mar. 2, 2015, Dkt. No. 163.

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         On May 7, 2015, in much the same format as it had with the prior version, Debtors

 submitted a Draft Third Modified Disclosure Statement and Plan to the Court under cover of a

 letter dated May 7, 2015.88 The Debtors again proposed quarterly payments over five years,

 twenty-five-year amortization, balloon payment paid by sale of the property. The Debtors

 reiterated their position that the Property was worth at least $20 million (subject to increase if

 Debtors were authorized to build additional units).89

         The Court held a hearing on the adequacy of the Third Modified Disclosure Statement on

 June 23, 2015.90 Debtors’ Counsel and the U.S. Attorney for EPA both averred at the June 23,

 2015 hearing that the distribution to general unsecured creditors of Debtor Alsol under the Draft

 Third Modified Disclosure Statement and Plan was 20%.91 Debtors’ Counsel averred that general

 unsecured creditors of S B Building and of SB Milltown would be paid 100%.92 At the end of the

 colloquy, Debtors’ Counsel acknowledged that the Debtors had assented to the changes requested

 by the EPA, but the Court left to Debtors’ discretion whether to put this Plan out to a vote.93

 Debtors later characterized the result of this conference as the parties (Sass, EPA, Debtors) having

 “agreed to suspend the confirmation process so that the parties could attempt to address the various

 disputes among the parties.”94 Mr. Berger certified that, on November 12, 2015, the Bankruptcy

 Court suspended proceedings and ordered the parties to mediation.95




 88
    May 7, 2015 Letter and Draft Third Modified DS and Plan, Ex. 1, Dkt. No. 175.
 89
    May 7, 2015 Letter and Draft Third Modified DS, Art. II.E.6 and II.F.1, Ex. 1, Dkt. No. 175.
 90
    June 23, 2015 Hr’g Tr., Dkt. No. 196.
 91
    June 23, 2015 Hr’g Tr. 30:22-24; 40:8-16, Dkt. No. 196.
 92
    June 23, 2015 Hr’g Tr. 39:23-40:7, Dkt. No. 196.
 93
    June 23, 2015 Hr’g Tr. 44:18-46:5, Dkt. No. 196.
 94
    Lawrence S. Berger Certification in Support Motion Approving Settlement with Sass ¶ 26, Aug. 25, 2016, Dkt. No.
 259-1 (“Berger Certif.”).
 95
    Berger Certif. ¶ 27, Dkt. No. 259-1.

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         The Honorable Stephen Orlofsky, U.S.D.J. (Ret.) mediated in January 2016 and in April

 2016 and returned a settlement between and among the Debtors and Sass only.96 Judge Orlofsky

 kept mediation open, according to Mr. Berger, because Judge Orlofsky deemed that resolution of

 an issue in the EPA lien priority litigation could facilitate complete resolution of the mediation.97

         (6) The UST’s Motions to Convert or Dismiss

         The UST filed a December 29, 2015 motion to convert or dismiss because the Debtors’

 monthly operating reports and quarterly fees were delinquent for April 2015 through November

 2015 (eight months).98 Debtors filed all these delinquent monthly operating reports on January 12,

 2016 (and the UST withdrew his motion on February 11, 2016).99 On January 28, 2016, the UST

 filed a motion to compel USLR to respond to a Rule 2004 Subpoena through which the UST sought

 discovery about USLR’s financial wherewithal.100 The Court entered a March 16, 2016 Order

 compelling compliance by USLR.101

         On August 25, 2016, the Debtors filed a motion to approve a “limited” global settlement

 among Sass, Debtors and Debtors’ two affiliated entities, 199 Realty Corp. (debtor in Case No.

 13-14776 (VFP)) and 190 South Street Realty LLC (debtor in Case No. 15-14558 (VFP)), (the

 “Sass Settlement Motion”).102 For the Debtors, the Settlement reduced Debtor’s liability to Sass

 from $6.6 million to $5.5 million; had no interest accrual for 2.25 years from the date of entry of

 the Settlement Agreement (entered on May 31, 2016);103 provided interest thereafter at 12% (not



 96
    Berger Certif. ¶ 27, Dkt. No. 259-1.
 97
    Berger Certif. ¶ 27, Dkt. No. 259-1.
 98
    UST Motion, Dkt. No. 210.
 99
    MORs, Dkt. Nos. 215-222; Notice of Withdrawal of Motion to Dismiss, Dkt. No. 234.
 100
     UST Motion, Dkt. No. 229.
 101
     Letter Obj., Feb. 16, 2016, Dkt. No. 235; Mar. 16, 2016 Order, Dkt. No. 241. Debtor’s Counsel claimed on behalf
 of USLR in an April 11, 2016 letter that its responses were complete but declared that the UST disagreed (Dkt. No.
 244).
 102
     Sass Settlement Motion, Dkt. No. 259.
 103
     Berger Certif., May 31, 2016 Term Sheet (signed), Ex. A, Dkt. No. 259-1.

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 18%) on principal only; allowed cash payments to start on the 28th month; caused liens to be

 retained and cross-collateralized and cross-defaulted to all three Debtor Properties.104 The claims

 were to be paid in full on the earlier of (i) receipt of condemnation proceeds; or (ii) six years from

 the date of parties’ entry into a Consent Order incorporating the terms of this settlement.105 The

 terms of the Consent Order were to be “incorporated in any and all plans of reorganization or

 liquidation, with all payments thereunder to continue under such plans.”106 This motion drew

 objections from the EPA on multiple substantive grounds.107 The Sass Settlement Motion was

 repeatedly adjourned at the parties’ request.

         On February 13, 2017, the UST moved to appoint a Chapter 11 Trustee or to convert the

 case to one under Chapter 7 for failure to file Monthly Operating Reports; for failure to pay UST

 fees for five months; for accrual of unpaid post-petition taxes; for unauthorized transfers; and for

 diversion of funds.108 The UST also opposed the Sass Settlement Motion on February 24, 2017

 and asked the Court not to decide the Sass Settlement Motion until the Court had decided whether

 to leave Mr. Berger in control of the Debtors.109 Debtors and Milltown entered a May 10, 2017

 Consent Order for the payment of certain post-petition taxes.110

         (7) The Global Settlement and Plan Confirmation Proceedings

         On May 10, 2017, the EPA filed a Notice of Lodging of Settlement Agreement, an

 administrative requirement that preceded the Debtors’ next submission.111 On May 15, 2017, the

 Debtors filed a Motion to Approve Settlement between and among: (i) Debtors; (ii) Sass; (iii)


 104
     Berger Certif. ¶ 54, Dkt. No. 259-1.
 105
     Berger Certif. ¶ 54 and Term Sheet (signed), Ex. A, Dkt. No. 259-1.
 106
     Berger Certif., Term Sheet (signed), at 7, Ex. A, Dkt No. 259-1.
 107
     EPA Br., Dkt. No. 275.
 108
     Kropiewnicki Certif., Dkt. No. 299-1.
 109
     UST Obj., Dkt. No. 302. The Sass Settlement Motion was superseded by the Global Settlement Motion and was
 ultimately withdrawn on Nov. 6, 2017 (Notice of withdrawal of Sass Settlement Motion, Dkt. No. 435).
 110
     May 10, 2017 Consent Order, Dkt. No. 381.
 111
     Notice of Lodging of Settlement Agreement, May 10, 2017, Dkt. No. 319.

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 Borough of Milltown; (iv) EPA; (v) U.S. Coast Guard; (vi) non-debtor S B Building GP, LLC (the

 50% owner of Debtor S B Building); (vii) United States Land Resources, Inc.; (viii) United States

 Realty Resources, Inc.; and (ix) Lawrence S. Berger, Esq. (the “Global Settlement”).112

         The Global Settlement was a significant event as it resolved all claims and outstanding

 litigation between and among these parties (including the priority dispute between Sass and the

 EPA); required the substantive consolidation of the three Debtors and cross-collateralization of the

 Sass and EPA claims); provided for remedies upon default (and allowed the EPA to proceed

 against other Defendants in a coverage dispute); and required these terms to be included with the

 next (fourth) Disclosure Statement and Plan of Reorganization to be filed by the Debtors.113 The

 Global Settlement required that its terms be incorporated into any future Plan, addressed other

 Plan-related provisions and provided that it would become effective when the Confirmation Order

 became non-appealable (the “Effective Date”).114 The Global Settlement would become null and

 void if a Chapter 11 Trustee were appointed before the Effective Date.115 The motion approving

 the Global Settlement was first scheduled for a hearing on June 27, 2017.

         At this point, Boraie filed its first submission since docketing its Notice of Appearance on

 March 11, 2014.116 On June 20, 2017, Boraie filed an objection to the Motion approving the Global

 Settlement, replaced on September 6, 2017 with an amended objection.117 Boraie argued at length

 that the Global Settlement motion lacked adequate facts to allow the Court to determine whether

 the Settlement was fair and equitable to non-settling creditors; did not explain how the Sass




 112
     Motion Approving Settlement, May 15, 2017, Dkt. No. 322. The Debtor simultaneously filed objection to the
 UST’s motion to appoint a Chapter 11 Trustee or to convert the case to one under Chapter 7, Dkt. No. 323.
 113
     Notice of Lodging of Settlement Agreement, Settlement Agreement, Ex. A, Dkt. No. 319.
 114
     Berger Certif., Global Settlement ¶¶ 4, 5, 6, 7, 10, Ex. B, Dkt. No. 322.
 115
     Berger Certif. Global Settlement ¶ 9, Ex. B, Dkt. No. 322.
 116
     Notice of Appearance, Mar. 11, 2014, Dkt. No. 103.
 117
     Boraie Obj., June 20, 2017, Dkt. No. 337; Boraie Obj., Sept. 6, 2017, Dkt. No. 385.

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 settlement figure was reached; and did not disclose how viable were Debtors’ tax appeals.118

 Boraie also objected to the cross-collateralization provisions in favor of Sass and EPA; to Debtors’

 $20 million valuation of the Property; and to the proposed substantive consolidation, which Boraie

 argued benefited secured creditors and did not meet the criteria for substantive consolidation under

 In re Owens Corning, 419 F.3d 195, 211 (3d Cir. 2005).119 On September 8, 2017, after the

 Debtors objected informally to Boraie’s standing, Boraie acquired two claims that Archer &

 Greiner, P.C. had filed against two of these Debtors on April 17, 2013: Claim No. 1-1 filed against

 S B Building for $63,479.14; and Claim No. 1-1 filed against Alsol for $44,851.82.120

          After a June 27, 2017 hearing, the Court entered an Order on the UST’s motion and, in lieu

 of conversion or dismissal, directed the Office of the UST to appoint an examiner.121 The UST

 appointed Frank E. Pina (“Mr. Pina”) as examiner on June 29, 2017, and the Court entered an

 Order confirming his appointment on July 6, 2017.122 As noted, Mr. Pina ultimately retained

 counsel and retained his own firm, Mercadien, P.C., as accountants.123

          The Court scheduled further proceedings and submissions on the contested Global

 Settlement Motion to follow the examiner’s production of a report.124 The examiner produced a

 preliminary report on September 27, 2017.125 The UST renewed his motion to convert or to appoint

 a Chapter 11 Trustee based on standard deficiencies (monthly operating reports and UST fees); on

 the findings in the examiner’s preliminary report (incomplete accounting, improper transfers and



 118
     Boraie Obj. ¶¶ 34-45, Dkt. No. 385.
 119
     Boraie Obj. ¶¶ 46-66, Dkt. No. 385.
 120
     Apr. 17, 2013 Claim No. 1-1 and Notice of Transfer at Claims Register Entry 387; Apr. 17, 2013 Claim No. 1-1
 and Notice of Transfer at Claims Register Entry 113.
 121
     June 27, 2017 Order Directing the Appointment of an Examiner, Dkt. No. 338.
 122
     Notice of Appointment, June 29, 2019, Dkt. No. 341; July 6, 2017 Order approving appointment, Dkt. No. 347.
 123
     Order for retention of Trenk, DiPasquale, Della Fera & Sodono, P.C., as counsel, Dkt. No. 374; Order for retention
 of Mercadien, P.C., as accountant, Dkt. No. 369.
 124
     Sept. 25, 2017 Scheduling Letter, Dkt. Nos. 398, 399.
 125
     Examiner’s Report, Sept. 29, 2017, Dkt. No. 400.

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 deposits); on Debtors’ alleged obstruction of the examiner’s work; and on anomalies that the

 UST’s auditor discovered in Debtors’ monthly operating reports.126

         While the Global Settlement Motion and the UST’s Motion were pending, the Debtors filed

 a “new” Third Modified Disclosure Statement and Plan on October 26, 2017.127 The EPA filed a

 November 6, 2017 letter announcing that it had received no public comments to the Global

 Settlement based on its public notice; that it would not “exercise its right to withdraw”; and that

 the Global Settlement was “proper under applicable environmental law and should ultimately be

 approved.”128 The Third Modified Disclosure Statement did indeed incorporate, both actually and

 by reference, the Global Settlement (Art. II.E.12, pp. 20-21 and Global Settlement, Ex. 3), as well

 as (i) a term sheet (undated) signed by the Debtors and by Borough of Milltown; and (ii) a Consent

 Order, signed by the Debtors and by Sass, not dated or entered by the Court, in order to facilitate

 those aspects of the Global Settlement.129

         The examiner filed his final report on December 29, 2017.130 Debtors filed a lengthy

 rebuttal; the UST supplemented his motion to convert or to appoint a Chapter 11 Trustee on the

 basis of the examiner’s final report; and Boraie renewed its opposition to the Global Settlement as

 well as supporting the UST’s motion.131

         The hearing to approve the October 26, 2017 Third Modified Disclosure Statement (which

 included the Global Settlement) was originally scheduled for November 28, 2017 but was

 repeatedly carried until the Debtors filed the Fourth Modified Disclosure Statement and Plan on


 126
     UST Br. ¶¶ 13-27, Dkt. No. 417-2; Kropiewnicki Certif., ¶¶ 7-21, Dkt. No. 417-1.
 127
     Third Modified DS and Plan, Oct. 26, 2017, Dkt. Nos. 428, 427. The Debtor presumably labeled this DS and Plan
 Third Modified because it had never put to a vote the May 7, 2015 Third Modified DS and Plan (which had preceded
 the settlement negotiations).
 128
     Nov. 6, 2017 EPA Letter, at 1, Dkt. No. 436.
 129
     Third Modified DS and Exs. 1 (term sheet); 2 (Consent Order); and 3 (Global Settlement), Dkt. No. 428.
 130
     Examiner’s Report, Dec. 29, 2017, Dkt No. 463.
 131
     Debtor Rebuttal, Feb. 13, 2018, Dkt. No. 473; UST Supplement, Feb. 13, 2018, Dkt. No. 475; Boraie Obj., Feb.
 13, 2018, Dkt. No. 474.

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 March 1, 2018 (still incorporating the Global Settlement and related agreements). The Court

 approved the Fourth Modified Disclosure Statement by Order entered on March 5, 2018 and

 scheduled confirmation for April 26, 2018.132 The UST’s motion to convert or appoint a Chapter

 11 Trustee was carried, pending the results of the confirmation hearing.

         On April 23, 2018, the Debtors filed a Certification of Balloting that reflected

 overwhelming approval of the Plan by all creditors that voted.133 In each of the three Debtor cases,

 the Debtors easily satisfied the voting requirements of 11 U.S.C. § 1126(c) (acceptance by at least

 two-thirds in amount and one-half in number of each class entitled to vote) and § 1129(a)(10) (at

 least one impaired class must accept the Plan, without considering the votes of insiders). Although

 there was some issue about certain creditor votes being double counted (primarily as the result of

 the identity of interests among the Debtors, see section 6, infra), there is no dispute that these

 voting requirements were satisfied no matter how the votes were counted. In fact, as noted, the

 only creditor that voted to reject the Plan was Boraie in the S B Building and Alsol cases.

         Only Boraie and the UST filed objections to confirmation, but they were extensive.134 The

 UST objected on the grounds of feasibility, given the numerous and substantial initial, installment

 and balloon payments due under the Plan; the parties’ concerns about the accuracy of rent rolls

 and income projections; the ability and resolve of USLR to backstop Plan payments; the reliability

 of Debtors’ $20 million valuation; and Mr. Berger’s April 16, 2018 deposition testimony to the

 effect that the payment of the Debtors’ obligations is discretionary.135




 132
     Fourth Modified DS and Plan filed Mar. 1, 2018, Dkt. Nos. 483, 482; Mar. 5, 2018 Order approving Fourth
 Modified DS, Dkt. No. 484.
 133
     Certification of Balloting, Apr. 23, 2018, Dkt. No. 501.
 134
     Boraie Objs., May 3, 2018, Dkt. Nos. 506, 507; UST Obj., Dkt. No. 508.
 135
     UST Obj. ¶ 14, Dkt. No. 508.

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            In preparation for the confirmation hearing, Boraie stipulated with Debtor the conditions

 under which the parties would agree to admit the June 13, 2017 appraisal of the Properties

 commissioned by Boraie from Rosin Associates ($7.65 million);136 submitted witness and exhibit

 lists;137 and moved on shortened time to compel Debtors and USLR to respond to discovery.138

 Boraie objected to confirmation on feasibility and numerous additional grounds, including failure

 to provide for administrative expense payment; lack of good faith; “improper” consolidation and

 cross-collateralization; inability to meet cramdown provisions of 11 U.S.C. § 1129(b) based on the

 cross-collateralization and consolidation provisions; violations of the absolute priority rule and

 unfair treatment of creditors.139

            The confirmation hearing began on April 26, 2018 on what would become the first of ten

 days of trial.140 The UST and Debtors entered a May 22, 2018 Stipulation and Consent Order that

 required Mr. Berger’s various debtors-in-possession to retain certified public accountants and

 postponed the hearing on the UST’s motion to May 16, 2018, a date expected to be after the Court

 determined whether to confirm the Fourth Modified Plan.141 The only witnesses called at the

 confirmation hearing were Mr. Berger, who was subject to extensive direct and cross-examination,

 and Boraie’s financial expert, William Pederson of EisnerAmper LLP.

       V.      LEGAL ANALYSIS AND CONCLUSIONS

               The Court will address the various objections of Boraie and the UST in the order

 outlined in the Introduction to this Opinion.




 136
     May 3, 2018 Stipulation as to Rosin Associates, Dkt. No. 502.
 137
     Witness List, May 3, 2017, Dkt. No. 509; Ex. List, May 3, 2017, Dkt. No. 510; Am. Ex. List, May 15, 2018, Dkt.
 No. 517.
 138
     Boraie Discovery Motion, May 15, 2018, Dkt. No. 511.
 139
     Boraie Obj., Dkt. No. 506.
 140
     Trial Tr. vol. 1.
 141
     May 22, 2018 Stipulation and Consent Order, Dkt. No. 528.

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        1. The Alleged Inability to Pay Administrative Claims in Accordance with the Plan
           and Bankruptcy Code

        Boraie and the UST argue that the Debtors do not have the ability to satisfy the requirement

 of 11 U.S.C. § 1129(a)(9) that all administrative claims be paid in full on the Effective Date, unless

 the affected parties agree to a different treatment. More specifically, Boraie notes that the Debtors’

 cashflow projections fail to provide for funding of substantial administrative expense claims that

 accrued during these cases, including more than $700,000 in professional fees, over $65,000 in

 post-petition accounts payable and UST fees in excess of $27,000. Boraie and the UST also argue

 that this inability also demonstrates that the Debtors’ Plan is not feasible. The Court is addressing

 this argument first because if this fundamental requirement of section 1129(a)(9) is not satisfied,

 the Plan cannot be confirmed.

         The Debtors’ response is essentially that they will either pay the administrative expense

 claims in full on the Effective Date or as otherwise agreed by the parties, thereby satisfying 11

 U.S.C. § 1129(a)(9). The question that Boraie and the UST rightfully raise is how. At the

 confirmation hearing, Mr. Berger testified that the other properties controlled by USLR regularly

 generate proceeds from rental income, sales and/or refinancings that could be used to pay the

 administrative expenses. While Boraie and the UST criticize these statements and projections as

 speculative and unsupportable, the Court can and will take judicial notice of at least one such sale

 that occurred in late December 2019, shortly after the conclusion of testimony and briefing in this

 case. That sale took place in In re Fin Associates Limited Partnership (Case No. 19-28386), (the

 “Fin Associates Case”) that was also before this Court.




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           In that case, the debtor, another USLR/Berger-controlled entity, sold its property for $17.8

 million and simultaneously paid off first mortgage indebtedness of $12.6 million.142 The sale also

 resulted in payment in full of all other claims, including 100% of the undisputed claims of

 unsecured creditors, with interest.143 After those payments, more than $3.5 million of net equity

 remained for Fin Associates and its owner.144 From those proceeds, $1.1 million was placed in

 escrow with the Debtors’ counsel for the payment of administrative claims in these cases pursuant

 to an Order of this Court. See Dismissal Order [Dkt. No 83, Case No. 19-28386, at 4-5], which

 provides as follows:

                   ORDERED that Rabinowitz, Lubetkin & Tully, LLC [these Debtors’
                   counsel] shall continue to hold $1,100,000 in its attorney account from
                   the proceeds of Debtor’s [Fin Associates’] sale to pay allowed
                   administrative claims of professionals in the S B Building Associates LP
                   (13-12682), SB Milltown Industrial Realty Holdings, LLC (13-12685)
                   and Alsol Corp. (13-12689) cases. . . .

 With this reserve, the Debtors have the ability to pay allowed professional administrative expense

 claims in full on the Effective Date (or as otherwise may be agreed by the affected parties). This

 includes the $400,000 combined administrative claims of Trenk, DiPasquale, Della Fera &

 Sodono; McManimon, Scotland & Bauman; Frank A. Pina, Esq.; and Mercadien, P.C., CPAs,

 which were the subject of a standing objection to plan confirmation and includes fees incurred in

 these and other cases involving certain other entities affiliated with these Debtors, 190 South Street




 142
     The Court notes that in connection with the sale hearing in the Fin Associates case, another bid of $18.5 million
 was made, but was determined not to be the highest and best offer by the Debtor and ultimately this Court because it
 required a delayed closing. Time was of the essence and the Debtor, who was assured of receiving equity, testified
 (through Mr. Berger) that it preferred the lower offer of $17.8 million because of its certainty and timing. The Court
 notes the $17.8 sale price and $18.5 million offer were reasonably close to Mr. Berger’s $19 million estimate of its
 value on D-9 in evidence.
 143
     See Order Authorizing Sale of Debtor’s Real Property pursuant to 11 U.S.C. § 363, and Other Related Relief (the
 “Sale Order”) in the Fin Associates case, Dkt. No 58; and Order Dismissing Debtor’s Chapter 11 Proceeding and
 Other Related Relief (the “Dismissal Order”) in that case, Dkt. No. 83.
 144
     Berger Certif. in Support of Sale Mot., ¶¶ 15-16, Dkt. No. 34-1, (Fin Associates case, Dkt. No. 19-28386).

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 Realty Holdings, L.P.; 199 Realty Corp.; and 3920 Park Avenue Associates, L.P.145 The other

 administrative expenses, including payables of $65,000 and UST fees of $27,000, may also be

 paid from any remaining escrowed funds and/or from other debtor or USLR sources. Thus, the

 Debtors have the ability to satisfy the requirements of 11 U.S.C. § 1129(a)(9)(A) regarding the

 payment of administrative expenses. For the same reasons, the arguments that the Debtors’ Plan

 is not feasible because the Debtors are unable to provide for the required treatment of

 administrative claims is rejected.

                 2.   The Plan Satisfies Feasibility Requirements of 11 U.S.C. § 1129(a)(11)

            Section 1129(a)(11) of the Bankruptcy Code requires a debtor to demonstrate, by a

 preponderance of the evidence, that “confirmation of a plan is not likely to be followed by the

 liquidation, or the need for further financial reorganization of the debtor. . .” 11 U.S.C.

 § 1129(a)(11).          In other words, the Debtors “must demonstrate that the plan is feasible.” In re

 TCI 2 Holdings LLC, 428 B.R. 117, 148 (Bankr. D.N.J. 2010). The feasibility requirement does

 not mean the debtor must provide a guarantee of success. In re Greate Bay Hotel & Casino, Inc.,

 251 B.R. 213, 226 (Bankr. D.N.J. 2000). “The purpose of 1129(a)(11) ‘is to prevent visionary

 schemes that promise creditors and equity security holders more under a proposed plan than the

 debtor could possibly attain after confirmation.’” In re Sound Radio, Inc., 103 B.R. 521, 522

 (D.N.J. 1989) aff’d without opinion, 908 F.2d 964 (3d Cir. 1990); In re Congoleum Corp., 362

 B.R. 198, 203 (Bankr. D.N.J. 2007) (same). In re Eddington Thread Mfg. Co., Inc., 181 B.R. 826,

 832 (Bankr. E.D. Pa. 1995) (same).

            In determining whether the feasibility standard is met, a court must be satisfied that the

 plan is workable and has a reasonable likelihood of success. In re Leslie Fay Co. Inc., 207 B.R.



 145
       June 18, 2019 Trenk Obj. covering Dec. 18, 2018 Consent Order from affiliated cases, Dkt. No. 642.

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 764, 788 (Bankr. S.D.N.Y. 1997); In re Drexel Burnham Lambert Grp., Inc., 138 B.R. 723, 762

 (Bankr. S.D.N.Y. 1992). As noted, no guarantee of success is required and the “mere potential for

 failure of the plan is insufficient to disprove feasibility.” In re TCI 2 Holdings, LLC, 428 B.R. at

 148 (internal quotation omitted). The “key element of feasibility is whether there is a reasonable

 probability the provisions of the plan can be performed.” In re G-I Holdings, Inc., 420 B.R. 216,

 267 (D.N.J. 2009). A “relatively low threshold of proof” may satisfy the feasibility requirement.

 See In re TCI 2 Holdings, LLC, 428 B.R. at 148.

        In considering these various factors, at least one court emphasized that:

             The first, best indicator of feasibility is the position of the creditors whose
             economic interests are at stake. The support or opposition of creditors
             with skin in the game and an opportunity to study a debtor’s proposal is
             more illuminating to the Court than any expert report or accountant’s
             projections.

 In re Indianapolis Downs, Inc., 486 B.R. 286, 298 (Bank. D. Del. 2013) (emphasis supplied). This

 Court agrees wholeheartedly.

        Here, the creditors with “skin in the game” voted overwhelmingly in favor of the Debtors’

 Plan and/or entered into settlements with the Debtors that plainly indicated their support for the

 Plan. The only creditor that objected and voted against the Plan (as to Alsol and S B Building)

 was Boraie, whose primary interest in this case was not to maximize its recovery on the $108,000

 in claims it purchased (during the course of these cases and only after the Debtors objected to its

 standing), but rather to defeat the Debtors’ Plan so that Boraie can pay as little as possible for the

 Properties – leading inevitably to the result that unsecured creditors will receive nothing. Thus,

 discounting Boraie’s patently conflicting interest and vote, this primary factor -- the near

 unanimous support of creditors with respect to the Plan -- weighs heavily in favor of a finding of

 feasibility. Put simply, and as emphasized by the Indianapolis Downs court, there is no better



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 evidence of feasibility than the fact that creditors who have “skin in the game” and have been

 dealing with Mr. Berger and his affiliated entities over many years (if not decades), are willing to

 support the Debtors’ Plan.         Boraie’s interests lie in a wholly different game -- obtaining the

 Debtors’ Properties for the lowest possible price -- that is directly contrary to the interests of the

 voting and nonvoting creditors who overwhelmingly supported the Plan.

            After considering this primary factor, additional factors that the courts have considered are:

 (i) the adequacy of the debtor’s corporate structure; (ii) the earning power of its business; (iii)

 economic conditions; (iv) the ability of debtor’s management; (v) the probability of continuation

 of the same management; and (vi) any other related matters which determine the prospects of a

 sufficiently successful operation to enable performance of the provisions of the plan. In re Greate

 Bay Hotel & Casino, Inc., 251 B.R. at 226-27 (citing cases).

            As to these other factors, the objections focused on the earning power of the Debtors’ and

 USLR’s businesses and Mr. Berger’s fitness to serve as manager of these Debtors. Here, the Court

 acknowledges the evidential deficiencies in the Debtors’ case as to the availability of funds from

 the RMA Agency Account (the “Agency Account”),146 which did not include the expense side of

 the ledger and which Mr. Berger testified was not owned by USLR (though it is controlled by him

 through USLR). In fact, other than identifying RMA as the account holder, Mr. Berger could not

 identify who owned the funds in the Agency Account. Also troublesome was Mr. Berger’s

 testimony that all expenses are discretionary. This somewhat flippant testimony is reflective of

 Mr. Berger’s way of doing business. Expenses may be discretionary in a general sense, as a party

 can choose to pay or not to pay them. There are, however, consequences associated with the failure

 to pay, which Mr. Berger acknowledges.



 146
       Ex. D-5.

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            The question for this Court in determining feasibility is whether Mr. Berger will use that

 discretion to pay or, more accurately, cause the Debtors and USLR to pay the initial, periodic and

 balloon payments required under the Debtors’ Plan. The Court’s answer is that it is more likely

 than not that he will, or he risks losing the substantial equity that he firmly believes the Debtors

 have in their Properties – perceived equity that he has been fighting to preserve for well over a

 decade in litigation with Milltown, Boraie, the EPA and others. Thus, as Mr. Berger testified, his

 plan is to use that discretion to make those payments. And if he does not, Sass and the EPA

 negotiated default provisions that allow them to pursue all state court remedies if the defaults are

 not cured in thirty days. Similar default provisions are available to other secured creditors under

 the Plan. Additionally, the Plan provides that a creditor may move to convert or dismiss these

 cases if the Debtors’ default in performance of the Plan or other cause exists for conversion or

 dismissal under 11 U.S.C. § 1112(b).147

            To further provide incentives for Mr. Berger and his affiliates to make the payments

 required under the Plan to unsecured creditors as well, and to provide effective remedies to all

 creditors if they do not, the Court will incorporate into its confirmation order a similar thirty-day

 default provision for the benefit of those unsecured creditors, i.e., upon a default that is not cured

 within thirty days of receipt of a Notice of Default by the Debtors, the affected unsecured creditors

 will have their claims accelerated and will also have the right to exercise their state law remedies

 and move to convert or dismiss these cases.

            Next, the Court will analyze the Debtors’ ability to make the initial, periodic and balloon

 payments due under the Plan.




 147
       Fourth Modified Plan, Art. IV.D, at 25, Dkt. No. 482.

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                   (1) Initial Payments

          As to the financial ability of the Debtors to perform under the Plan, the Court first notes

 that $1.1 million is currently being held in escrow by Debtors’ counsel to fund (as necessary) the

 administrative expense claims required to be paid on the Effective Date of the Plan (unless

 otherwise agreed by the claim holder). As more fully described in this Court’s prior discussion of

 the Debtor’s satisfaction of the § 1129(a)(9) requirement to pay administrative and priority claims,

 this amount, combined with any additional finding required from the Debtor or USLR, is sufficient

 to fund the approximately $700,000 to $1.2 million in estimated administrative claims.148 Thus,

 the Court finds that the Debtors have the ability to fund the initial payments due under the Plan.

                   (2) Periodic Plan Payments

          As to the installment payments due under the Plan, the evidence showed that the Debtors

 generate rental income of approximately $195,000 per quarter (or $65,000 per month), against

 Plan expenses of $178,419 per quarter ($80,000 to Milltown, $77,000 to Sass, $25,000 to

 unsecured creditors, $20,500 to the EPA and $919 to the other tax lien certificate holders).149 The

 Debtors’ other quarterly expenses total $100,475.150 According to the Debtors, this leaves a

 shortfall of approximately $108,894 per quarter or $36,333 per month,151 which is to be funded by

 USLR’s backstop guarantee. That guarantee was modified to eliminate the $40,000 per month

 and $1.2 million overall limitations on USLR’s funding obligations; however, the backstop does

 not apply to the balloon payments.152 Thus, USLR’s backstop, no longer limited to $40,000 per

 month and $1.2 million in total funding, is at least theoretically sufficient to cover any shortfall in



 148
     See section 1, above.
 149
     See Ex. G, projections attached to Fourth Modified DS (in evidence as D-5), Trial Tr. vol. 3, 35-46.
 150
     Id., Ex. G.
 151
     If the Debtors’ figures (and the Court’s math are correct), the shortfall is actually less -- $83,894 per quarter (or
 $27,694.67 per month): $195,000 - $178,419 plan expenses - $100,475 other expenses = ($83,894).
 152
     See Ex. D-8; Trial Tr. vol. 3, 55:3-56:11.

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 cash flow from the Debtors to fund the installment Plan payments. However, Boraie and the UST

 rightfully raise the questions as to whether: (i) USLR has (or controls) sufficient financial

 resources to make the periodic backstop payments; and (ii) the Debtors have a realistic ability to

 pay the substantial balloon payments due under the Plan (which USLR has not backstopped).

 Though close calls, this Court finds that under the applicable feasibility standards described above

 (which are even lesser in the case of balloon payments), the Debtors have satisfied their burden,

 as buttressed by the additional default provisions being required by the Court.

          Much of the testimony and dispute relating to the Debtors’ ability to make the installment

 payments required under the Plan (with USLR’s backstop) revolved around the probative value

 (or lack thereof) of the information regarding deposits into the RMA Agency Account153 which

 averaged $660,000 per month.154 Preliminarily, the Court agrees with Boraie and the UST that

 the evidential value of this information is limited since it does not include expenses, as was

 forcefully and convincingly argued by Boraie through its expert and the UST. In fact, Boraie’s

 expert opined that the Agency Account was of no value in determining whether USLR could meet

 its backstop obligations principally because it did not include the expense side of the ledger and

 the negative balances that existed at times.155

          While the Court acknowledges that this evidence is of limited value, it does reflect that

 substantial amounts of this money go into and out of the Agency Account on a regular basis, with

 periodic ebbs and flows, including some negative numbers, as well as substantial increases from

 sales or refinances as they occur. Boraie also pointed to the likely (now certain) loss of rental

 income from Debtors’ subsidiary 388 Route 22 and argues that any payments received from 388



 153
     Ex. D-5.
 154
     Ex. D-5a.
 155
     Trial Tr. vol. 10, 41:13-42:17.

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 Route 22 would be fraudulent transfers in any event. As to that loss of income, the Debtors

 presented testimony that annual rental income from the Properties they directly own (excluding

 388 Route 22) has increased to $750,000 (or $187,500 per quarter and just slightly less than the

 $195,000 reflected in the Plan) and that USLR would fund any deficiency with its backstop.156

 Thus, the loss of payments made by 388 Route 22 does not render the Debtors or USLR without

 sufficient other resources to fund Plan payments, nor would those payments necessarily be

 fraudulent, as is discussed in Section 7 of this Opinion.

          Boraie and the UST also understandably argue that Mr. Berger’s “all expenses are

 discretionary” statement (or theory) means that Mr. Berger can choose not to make the payments

 at any time, as has in fact happened in at least certain other cases involving Mr. Berger and USLR.

 Mr. Berger’s testimony is that, in these cases, he will use that discretion to cause the payments to

 be made so as to preserve what he believes to be the substantial equity in the Properties (based on

 his own personal valuation of $20 million to $30 million). While this Court is not finding that this

 is the value of the Debtors’ Properties, it does find that Mr. Berger firmly believes they are worth

 that much and that they will generate proceeds sufficient to satisfy the secured and other claims to

 be paid pursuant to the Plan, as well as provide a return for equity. The Court further finds that he

 and USLR will continue funding those payments, unless and until it is finally determined by a

 court of competent jurisdiction that the Properties are not worth enough to generate those

 anticipated returns.157 The Court, therefore, credits his testimony and the related evidence to the

 extent that it supports the Debtors’ position that USLR has the ability and desire to make the



 156
     See, e.g., Trial Tr. vol. 4, 22:5-15 (ability of USLR to sell properties it controls to fund the Plan); Ex. D-5a; Ex. D-
 9a (describing potential equity in USLR properties over more than $70 million (reduced from a $95 million estimate
 reflected in Ex. D-9); Trial Tr. vol. 4, 137:18-20 (backstop funding); Trial Tr. vol. 8, 87:13-17 (rent receipts and
 increased rent at S B Building Property).
 157
     Trial Tr. vol. 3, 72:15-74:14 (USLR backstop payments on behalf of Debtors have a “very, very high priority of
 payment”).

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 necessary “backstop” payments under the Plan so that this substantial perceived equity can be

 preserved.

          As partial evidence of that commitment, Mr. Berger testified that, during the course of

 these cases, USLR paid $125,000 to the EPA on behalf of the Debtors to satisfy a judgment and

 $600,000 to pay for demolition of parts of the Properties. As to the Agency Account, there is no

 question that substantial funds go into and are paid out of that account on a monthly basis. Nor is

 there any dispute that USLR has other significant funding obligations under other plans (and

 otherwise). There is similarly no dispute that the amounts going into the account are, on average,

 in excess of USLR’s backstop obligations in these and other cases of approximately $100,000 per

 month.158 Thus, while there certainly is a legitimate question as to whether USLR will ultimately

 be able to meet its quarterly backstop obligations under the Plan, the Court finds that the Debtors’

 and Mr. Berger’s efforts over the last fifteen or so years to preserve and enhance the value of the

 Debtors’ Properties through the Mount Laurel and related litigations with Milltown and Boraie,

 bringing and funding other high stakes litigation against Sass, the EPA and others, and the financial

 and other commitments made to creditors and these Debtors in support of this Plan, including Mr.

 Berger’s personal guarantee of the $2.45 million obligation to the EPA under the Global

 Settlement, all combine to provide sufficient evidence that the Debtors, with USLR’s backstop,

 have a reasonable probability of meeting their installment obligations under the Plan.

          Mr. Berger further testified that USLR has the financial ability to fund (or cause to be

 funded) any deficiency in Plan payments, even if in excess of its backstop commitment.159 That


 158
     See Ex. D-5a (Agency Account) and USLR Bankruptcy Funding Obligations, Ex. D to Disclosure Statement.
 These funding obligations may have changed (perhaps downward) as the result of post-Plan events, including the
 B&D and 388 Route 22 debtors’ defaults under their plans. Boraie argues that the failure to fund these shows USLR’s
 inability and/or unwillingness to honor its commitments. However, as is noted in this Opinion, USLR has honored its
 commitments in other cases. The Court cannot predict with certainty future defaults in these or other cases, but it can
 and does find that USLR has the incentive and ability to meet the periodic payments due under the Plan in these cases.
 159
     See n.156, supra.

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 funding could come from cash flow or the sale of other properties, as has occurred in various other

 bankruptcy cases before this Court. In certain cases, USLR funded plan payments for extended

 periods until a sale could be consummated.              In other cases, the properties were sold pre-

 confirmation. Where they were sold, there were often sufficient proceeds to pay secured and

 unsecured creditors in full and significant equity left to the Debtors. See, for example, In re Blair

 Realty Holdings LLC, Case No. 11-37887 (MBK) (with mortgage of approximately $8 million,

 USLR provided backstop funding of approximately $100,000 per month for two years, until that

 vacant property was sold for approximately $12.5 million, with payment in full to all creditors and

 an unspecified return to equity); In re Bank Building Associates, LP, Case No. 14-35958 (VFP)

 (USLR provided backstop funding of over $120,000 until the property was sold and all creditors

 were paid in full); In re B & D Associates, Ltd., Case No. 14-33428 (VFP) and In re Sussex

 Randolph Building, L.P., Case No. 14-34505 (VFP) (USLR paid approximately $1 million to

 reinstate mortgage loans and continued to make payments to backstopped creditors for two years,

 although the debtor in B & D ultimately defaulted).160 See also In re Fin Associates Limited

 Partnership, Case No. 19-28386 (VFP) (property sold, creditors paid in full, and more than $3

 million returned to equity); and In re 190 South Street Realty Holdings, L.P., Case No. 15-14558

 (VFP) (property sold, creditors paid in full with unspecified equity to return to owner).161

         The Court recognizes that other property dispositions by USLR affiliated entities have not

 been successful. See, for example, 388 Route 22 Associates (though its creditors are apparently

 being paid in full);162 and the Berley Associates, Washington Center Assocs. and Allentown Power

 Center cases cited at 10-11 of Boraie’s reply brief. However, the mere fact that the Plan may fail


 160
     Trial Tr. vol. 4, 75:13-80:25.
 161
     See also Ex. F to Fourth Modified DS, which includes the income statements for USLR for 2014 to 2016 and the
 proceeds from properties sold during those periods.
 162
     Morris Bauer Certif., Dkt. No. 181-1, Case No 18-30155 (KCF).

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 “is insufficient to disprove feasibility.” See TCI 2 Holdings, LLC, 428 B.R. at 148. Additionally,

 and as was noted above, the Court also presided over other USLR related cases that resulted in

 payment in full to all creditors and significant equity being returned to the affiliated debtors. In

 short, there are some cases that turn out well for the USLR affiliates and others that do not.                  The

 Court cannot predict with certainty what will happen here, but determines that it is more likely

 than not that Mr. Berger (through the Debtors and USLR) will come up with the necessary funds

 to make the Plan payments as they come due. If they do not, all creditors – including Boraie – will

 have the full panoply of state court and Bankruptcy Code remedies at their disposal under the

 Plan’s default provisions, as supplemented by this Court, and the substantial perceived equity in

 the Properties that Mr. Berger has been fighting to preserve for more than a decade will be lost.

         (3)      Balloon Payments

         The Plan also calls for substantial balloon payments generally beginning to come due in

  2022 (and continuing through 2026, as to unsecured creditors) in the total amount of

  approximately $12 million.163 These payments are to be funded upon the sale or condemnation

  of the Debtors’ Properties, which would result in accelerated payments to creditors if the sale or

  condemnation occurs before the due date of the balloon payment. As noted, Mr. Berger believes

  that the sale or other disposition of the Debtors’ Properties will not only be sufficient to pay

  creditors, but also result in a substantial return of equity to the Debtors. If he did not firmly

  believe that, Mr. Berger would have caused these Properties to be abandoned long ago. Mr.

  Berger also testified that the sale or refinance of other USLR properties could provide the

  necessary funding for the balloon payments.164              Though the Court acknowledges there is again



 163
    Trial Tr. vol. 4, 89:4-6.
 164
    See generally, Ex. D-9a, which lists the USLR portfolio of properties, and previous discussion of successful sales
 of other USLR properties.

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  at least some uncertainty here, the case law also indicates that the Debtors do not need to

  demonstrate that there is a guarantee of financing or sale or other sources of funding to make

  those payments – just a reasonable likelihood that they will be made. That burden is even lesser

  with regard to the balloon payments at issue in this case. See In re Eddington Thread, 181 B.R.

  at 833; In re Briscoe Enterprises, 994 F.2d 1160, 1169 (5th Cir.), cert. denied, 510 U.S. 992

  (1993). For the reasons stated, the Debtors have met their burden to show that reasonable

  likelihood exists here.

                   (4) Other Relevant Feasibility Factors

          As to the management factor, Mr. Berger has been involved in the commercial real estate

 business for some fifty years, on both the business and legal sides. His long experience in the

 industry and the tenacity with which he litigates and negotiates have often resulted in beneficial

 outcomes for Mr. Berger and his entities, as evidenced by the settlements with Sass, Milltown and

 the EPA in this case and in the other cases noted above.165 This factor weighs firmly in favor of a

 finding of feasibility. As to the loss of rental income after the Property is condemned and the funds

 placed into Court, Mr. Berger testified – and it was not disputed – that these funds could be

 withdrawn by the Debtors to fund Plan obligations.166 He further testified that these funds, along

 with other sources noted above, could be utilized to make Plan Payments.167

          While the Court is considering all these factors, as was noted at the outset, the most

  important and primary factor in determining feasibility is what the parties with “skin in the game”

  had to say. Here, those parties evidenced their support for the Debtors’ Plan by either voting

  overwhelmingly in its favor, entering into settlements that formed the basis for the Plan and/or



 165
     See also section 4, infra.
 166
     Trial Tr. vol. 1, 78:21-79:2; Trial Tr. vol. 2, 108:16-109:13; Trial Tr. vol. 8, 74:5-18; 75:1-11.
 167
     Id. See also n.156.

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 otherwise supporting (or not objecting to) confirmation of the Plan. If there was not this

 overwhelming support, the very real feasibility and related concerns raised by Boraie and the UST

 would carry more weight. However, like the court in Indianapolis Downs, this Court finds that

 the near unanimous creditor support present here is the best evidence of a Plan’s feasibility and

 outweighs the objections of Boraie and the UST. The Court accordingly finds that the Debtors

 have met the feasibility requirements of section 1129(a)(11).

        3. The Plan Was Proposed in Good Faith and Not by Any Means Forbidden by Law

        Section 1129(a)(3) of the Code requires as a condition to confirmation that a plan be

 proposed in good faith and not be in any means forbidden by law. In re Noll, 172 B.R. 122, 124

 (Bankr. M.D. Fla. 1994). The good faith determination is made by evaluating the totality of the

 circumstances surrounding confirmation and requires that the Plan be “proposed with honesty,

 good intention and a basis for expecting that a reorganization can be effected with results consistent

 with the objectives and purposes of the Bankruptcy Code.” In re Sound Radio, Inc., 93 B.R. 849,

 853 (Bankr. D.N.J. 1988) aff’d in part, remanded in part, 103 B.R. 521 (D.N.J. 1989) aff’d 908

 F.2d 964 (3d Cir. 1990); In re Madison Hotel Assocs., 749 F.2d 410, 424 (7th Cir. 1984); see also

 In re Seasons Partners, LLC, 439 B.R. 505, 512-13 (Bankr. D. Ariz. 2010).

        In this connection, it is indisputable that a “primary goal of Chapter 11 is to promote the

 restructuring of the debtor’s obligations so as to preserve the business and avoid liquidation.” In

 re Leslie Fay, 207 B.R. at 781. A plan that includes the consensual resolution of disputes between

 the debtor and its creditors, and that proposes to pay creditors in full “clearly promotes the

 objectives and purposes of the Bankruptcy Code.” In re Couture Hotel Corp., 536 B.R. 712, 735

 (Bankr. N.D. Tex. 2015). Therefore, good faith is shown when a “plan that has been proposed for

 the purpose of reorganizing the debtor, preserving the value of the bankruptcy estate, and



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 delivering that value to creditors.” In re Genco Shipping & Trading Ltd., 513 B.R. 233, 261 (Bankr.

 S.D.N.Y. 2014).

          The Debtors’ Plan as proposed is completely consistent with the purposes of the

 Bankruptcy Code. The Debtors’ primary secured obligations are being reduced and restructured

 pursuant to the Global Settlement so that a substantial dividend to unsecured creditors is possible.

 As was previously noted, those unsecured creditors would undoubtedly receive nothing if the

 Debtors were liquidated according to the $7.65 million and $1.75 million valuations promoted by

 Boraie. Those valuations are dwarfed by total secured claims of approximately $16.5-$17.5

 million before the Settlements and approximately $12.5 million after.168

          Tellingly, these lower valuation amounts are what Boraie argues are the true value of the

 Debtors’ Properties and what Boraie proposes to pay for them in the state court condemnation

 proceedings. Thus, Boraie is plainly better off in its capacity as Redeveloper if the Debtors are

 liquidated. Just as plainly, Boraie is far worse off in its capacity as an unsecured creditor if the

 Debtors are liquidated. In this Court’s view, that inconsistency amply demonstrates that Boraie’s

 motivations for objecting in this case are based on its role as Redeveloper and its understandable

 desire to pay as little as possible for the Properties it seeks to redevelop. However, those interests

 are directly contrary and materially adverse to the interests of the Debtors’ other creditors, secured



 168
     Boraie’s argument that SB Milltown’s creditors would be adversely affected by the Plan because they would receive
 a 75% dividend in liquidation is rejected by this Court for several reasons. First, as was testified to by Mr. Berger,
 and as was reflected in the appraisals submitted by Boraie, there is no proper or accurate way to assign values to the
 separate parcels owned by the individual Debtors, as the Properties have not yet been developed and there is no way
 to know where units may be built or how sale or condemnation proceeds would be allocated. Trial Tr. vol. 2, 78:15-
 79:2 (as to Sass); 109:14-110:7 (as to EPA). Further, as Mr. Berger also testified, even if there was some way to
 separately consider each Debtor property, the unsecured creditors would also get nothing in a liquidation based on the
 secured claims against each entity. Trial Tr. vol. 2, 184:21-186:5; 187:20-189:6. Finally, and also tellingly, Boraie
 is again arguing against its interests as an unsecured creditor of Alsol and S B Building but not SB Milltown. In fact,
 it has no standing to make this argument on behalf of SB Milltown’s creditors, as it is not one of those creditors. By
 making this argument, Boraie essentially acknowledges that it would receive nothing from the liquidation of Alsol
 and S B Building and resorts to arguing against its interests (as an unsecured creditor of Alsol and S B Building) and
 on behalf of creditors of SB Milltown, as to which it has no claim.

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 and unsecured alike, as even secured creditors would not be paid in full if the Debtors were

 liquidated and values promoted by Boraie are utilized.

            The objectives of the Bankruptcy Code are further advanced by the three settlements with

 secured creditors that were achieved only after years of litigation, many months of negotiations

 between and among the parties and with the assistance of at least two mediators. The Plan was

 accepted by all classes that voted and was not objected to by any creditor other than Boraie. This

 overwhelming creditor approval came after creditor votes were solicited with a Disclosure

 Statement that included an extensive listing of virtually all of Boraie’s objections, as drafted by

 Boraie’s counsel, including as to the Debtors’ asserted lack of good faith and the Debtors’ inability

 to consummate their Plan.169

            Additionally, the Plan provides for payments to unsecured creditors that will begin three

 months after confirmation and would have commenced much earlier, but for the protracted

 confirmation proceedings (through and including multiday hearings; extended mediation sessions

 in the midst of those hearings, pre- and post-hearing submissions and drafting of this Opinion).

 The Plan also provides for payment in full of those creditors, which is also obviously consistent

 with the objectives of the Bankruptcy Code.

            Boraie’s response to these arguments is essentially that the Debtors’ Plan is not feasible

 (which is addressed elsewhere in this Opinion) and that the Debtors’ Plan is somehow to the

 detriment of their unsecured creditors. That is simply incorrect, as this Court also previously

 found. The Debtors’ Plan provides for payment in full for all creditors (some secured creditors at

 compromised amounts), as compared to a liquidation scenario where unsecured creditors would

 receive nothing and secureds would receive only partial payment of their claims.



 169
       See Fourth Modified DS, Art. III.G, at 47-50, Dkt. No. 483.

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        As to the Debtors’ and USLR’s willingness and ability to make the necessary payments to

 fund the Plan, the Court has already recognized that Mr. Berger’s testimony to the effect that all

 payments are discretionary is discomforting to all, including this Court, and certainly is being

 considered in this good faith analysis. But, as Mr. Berger testified, and as this Court has seen in

 various cases involving Mr. Berger’s affiliates, payments are made when USLR and its affiliated

 debtors are trying to save their properties and Mr. Berger believes the properties are worth saving.

 Thus, without adopting Mr. Berger’s testimony that the value of the Properties is $20-$30 million

 or more, the Court does find that Mr. Berger firmly believes they have substantial value in excess

 of the claims against the Debtors’ Properties and will do what is necessary to preserve that value,

 which includes prosecution of this Plan, entering into the Global Settlement with the principal

 secured creditors, the continuation of long-standing litigation with Milltown and Boraie to achieve

 the highest value for the Properties and the commitment of USLR and its affiliates to fund Plan

 payments in the event of any deficiencies in the initial and installment payments.

        Boraie also argues that the Debtors’ lack of good faith and USLR’s inability to fund the

 Plan are demonstrated by the more than $5 million in judgments against USLR and the fact that

 the Debtors did not disclose a wholly owned subsidiary during the course of this case, 57 Elm

 Street Holdings. However, as noted, the existence of that subsidiary was ultimately discovered

 and disclosed and USLR has been operating for many years with the judgments against it. These

 deficiencies are certainly not condoned by this Court, but they are not, in this Court’s view,

 sufficient for it to make a determination that a Plan: (i) which proposes to pay creditors in full,

 with interest; (ii) was overwhelmingly accepted by every class that voted; and (iii) includes

 compromises that result in the resolution of hotly contested litigation and millions of dollars of




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 savings to the Debtors is proposed in bad faith.170 Nor is the Plan proposed by any means forbidden

 by law, including as to the Plan’s cross-collateralization and substantive consolidation provisions

 and section 1129(b)’s fair and equitable requirements.171 To the contrary, the plan is consistent

 with the Bankruptcy Code and its goals. Accordingly, the objections to the Plan on these grounds

 are overruled.

          4. Management of the Debtors by Mr. Berger Is Not Inconsistent with the Interests
             of Creditors or Public Policy

          The UST and Boraie emphasize that “[o]paque reporting and resistance to following the

  rules in bankruptcy have been the hallmarks of this case. . .” in arguing that Mr. Berger should

  not be permitted to continue to manage these Debtors.172 In support, Boraie and the UST rely on

  11 U.S.C. § 1129(a)(5) of the Bankruptcy Code, which requires disclosure of the identity,

  affiliation and compensation of any individual proposed to serve as management of the Debtor

  and section 1123(a)(7), which requires that a plan contain only “provisions that are consistent

  with the interests of creditors and equity security holders and with public policy with respect to

  the manner of selection of [any such manager].” See In re Basha’s Inc., 437 B.R. 874, 912 (Bankr.

  D. Ariz. 2010).

          The Court acknowledges that “opaque reporting” and “resistance to following the rules”

  have occurred in this case. In fact, these issues were among the primary reasons the Court

  determined to appoint an Examiner. Despite these deficiencies, which have been fully aired at

  various points in this case, including in the Examiner’s Reports, the objections to confirmation

  by Boraie and the UST and the UST’s motion for conversion to Chapter 7 or the appointment of



 170
     The Court has also determined that the cross-collateralization and substantive consolidation provisions of the Plan
 are permissible and therefore not forbidden by law.
 171
     See sections 5, 6, and 8, infra.
 172
     UST Reply Br. ¶ 34, Dkt. No. 705.

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  a Chapter 11 Trustee, creditors voted overwhelmingly to approve the Plan which continues Mr.

  Berger (and RMA) at the helm of these Debtors. Thus, the Court must decide whether the

  undeniable deficiencies in the Debtors’ financial reporting and rule compliance, which have been

  ameliorated to an extent by the Debtors’ retention of a CPA and other corrective measures,173

  outweigh the similarly undeniable will and vote of the Debtors’ creditors. Although admittedly

  another close and difficult call, the Court finds that the deficiencies are not sufficient to override

  the will of creditors. The Court will therefore overrule these objections.

         Although the parties disagree as to whether Mr. Berger and RMA should continue as

  managers under the applicable standards of sections 1123(a)(5) and 1129(a)(7), they do not

  disagree as to the principles underlying those standards, as described in the case law. In

  considering whether the post-confirmation management of the Debtors is consistent with the

  interests of creditors, equity security holders and public policy, a Court is required to evaluate the

  proposed management’s competence, discretion, experience and affiliation with entities having

  an interest adverse to the Debtor. See In re W.E. Parks Lumber Co., Inc., 19 B.R. 285, 292 (Bankr.

  W.D. La. 1982). Continued service by prior management may be inconsistent with the interest

  of creditors and public policy “if it directly or indirectly perpetuates incompetence, lack of

  discretion, inexperience or affiliations with groups inimical to the best interests of the debtor.” In

  re Seasons Partners, LLC, 439 B.R. 505, 513 (Bankr. D. Ariz. 2010) (citing cases with similar

  holdings).

         Generally, however, “[t]he debtor should have first choice of its management, unless

  compelling cause to the contrary exists. . . .” In re Sherwood Square Assoc., 107 B.R. 872, 878

  (Bankr. D. Md. 1989).          Another guiding general principle is that, if the continuation of


 173
   May 22, 2018 Stipulation and Consent Order requiring Debtors to retain CPA (and granting other relief), Dkt. No.
 528.

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  management is supported by creditors, the plan is, by definition, not inconsistent with the interests

  of those creditors. In re Leslie Fay, 207 B.R. at 787.

            Applying these factors here, the Court is persuaded that the choice of creditors, the Debtors,

  and its equity security holders should carry the day, notwithstanding the acknowledged issues

  with certain of the Debtors’ – and Mr. Berger’s – financial reporting practices and adherence to

  the rules. Based on more than four decades of experience in the real estate industry and as a

  lawyer representing the interests of his affiliated real estate companies, Mr. Berger undeniably

  has the necessary experience and competence to do what he has been doing for approximately the

  last fifty years. His experience and competence and the exercise of his judgment and discretion

  for the benefit of the Debtors are plainly manifested in this case, where Mr. Berger was able to

  achieve difficult and beneficial settlements with the EPA, Sass and Milltown, while at the same

  time successfully (for the most part) prosecuting Mount Laurel and related litigation against

  Boraie and others in the State Court for almost fifteen years. There, the Debtors succeeded in

  increasing the density permitted on the Debtors’ Properties to at least 350 units, with 10,000

  square feet of commercial space, and 20% of the units designated for low and moderate income

  individuals.174 In the State Court, the Debtors also successfully challenged an infrastructure

  agreement between Boraie and Milltown. That effort resulted in savings of $1.5 million to the

  Debtors.175

            Mr. Berger also committed USLR to backstop the cash flow deficiencies in the Debtors’

  operations and agreed to a personal guarantee of $2.45 million in connection with the settlement

  with the EPA. Thus, his (and USLR’s) affiliations and interests are in no way adverse or inimical

  to the Debtors; instead, they are completely and beneficially aligned. Indeed, by that personal


 174
       Fourth Modified DS, Art. II.E.4, at 11, Dkt. No. 483.
 175
       Id. at 13.

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  guarantee, Mr. Berger has his own “skin in the game” and further incentive to see that the Plan

  succeeds. In these circumstances, the overwhelming will of creditors and the Debtors’ existing

  equity holders is entitled to substantial weight, notwithstanding the Debtors’ and Mr. Berger’s

  undisputed lapses in this case.176

          On the other hand, there is no doubt that the Debtors’ and Mr. Berger’s lapses are

  significant and include the failure to pay administrative claims, such as professional fees and real

  estate taxes, during the long course of these cases. However, as is noted above, the Debtors have

  committed to pay the professional claims on the Effective Date (or as otherwise agreed by those

  creditors) and now have a fund of at least $1.1 million to make those payments. As to the failure

  to pay real estate taxes, the parties directly affected -- Milltown and the tax lien holders -- have

  raised no objections. In fact, Sass and Milltown settled with the Debtors, with Sass having voted

  in favor of the Plan, which includes payment in full of its claims with interest and retention of its

  liens. The other affected tax lien certificate holders did not object to their treatment under the

  Plan, which also provides for payment in full, with interest and retention of their liens.

          As to Mr. Berger’s asserted ignorance as to a disbursing agent’s duties, the Court

  acknowledges that this is also problematic (and not particularly credible).177 However, this issue

  is not one that individually, or in conjunction with others, is sufficient to override the will of the

  Debtors’ creditors and its owners. Further, Mr. Berger would be well advised to take his duties

  as disbursing agent seriously, in default of which adverse consequences will result.

          Both Boraie and the UST also take issue with S B Building’s payment of the expenses of

  the other two Debtors, SB Milltown and Alsol. However, as was made clear at the confirmation


 176
     See In re Leslie Fay, supra, 207 B.R. at 787.
 177
     That said, to the extent Mr. Berger is not familiar with those duties, he voluntarily took on this serious responsibility
 and is required to discharge this duty responsibly. If he is unsure of the nature and extent of these duties, he should
 utilize the assistance of counsel and accountants as appropriate.

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  hearing, this was the normal course of business for these Debtors (and is another factor in favor

  of substantive consolidation). The Debtors argue that 11 U.S.C. § 364(a) allows a debtor-in-

  possession to incur unsecured credit in the ordinary course of business, which may be allowed as

  an administrative expense. But that authority is not directly applicable as to the advances because

  section 364 allows a debtor to borrow money in specified circumstances. It does not provide for

  a debtor to lend money on an unsecured (or other) basis. This is, however, the way these Debtors

  did business pre- and post-petition, as a matter of fact and practicality. In other words, these

  intercompany loans and advances, were and remain the ordinary course of business of these

  Debtors’ business for which court approval is not necessarily required. See 11 U.S.C. § 363.

          To this point, the reality is that the Properties of these three Debtors were uniformly

  operated as a single unit and treated as such by creditors and other parties-in-interest, including

  (but by no means limited to) the Borough of Milltown and Boraie. Mr. Berger further testified

  that it is common practice for mid-sized real estate firms to manage their business and make

  payments from a single account with the payments being separately allocated to the appropriate

  entity.178 The Court is satisfied that the Debtors’ unitary manner of operating and the allocation

  of income and expenses among the various affiliated entities, including advances by the income-

  generating Debtor(s) to the non-income-generating Debtor(s), is and was their ordinary course of

  business. Creditors at least implicitly, if not explicitly, endorsed and approved these continuing

  practices by voting in favor of the Plan and treating the Debtors as a single entity. Additionally,

  neither Boraie nor the UST was able to show at the confirmation hearing that any of the Debtors’

  funds were used for improper purposes.179


 178
     Trial Tr. vol. 8, 35:20-36:4. As is noted in section 6 of this Opinion, this identity of interests and operations and
 general disregard of corporate separateness also support the Debtors’ substantive consolidation request.
 179
     In its reply post-trial brief, the UST questioned $1.5 million in payments made by S B Building over the course of
 these cases that were disclosed but not specifically identified. However, there was no testimony taken in regard to

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         Finally, the unauthorized payment of the expenses incurred by Mr. Berger’s law firm and

  the omission of 57 Elm Street Realty Holdings (a subsidiary) from the Debtors’ schedules are

  also not appropriate, nor are these omissions condoned by the Court. The failure to disclose 57

  Elm Street was discovered as the result of the UST’s and Examiner’s diligence. The existence of

  this subsidiary thus became known to all and was fully aired prior to and during the confirmation

  hearing. Thus, this omission was discovered in sufficient time to be addressed by all parties, and

  it did not change the Plan or deprive the creditors of a source of recovery (nor did it affect

  creditors’ approval of the Plan). The Court similarly does not approve Mr. Berger’s payment of

  a portion of the expenses allegedly incurred by his firm without Court authorization. This latter

  lapse was also discovered and properly challenged by the UST on the basis of disclosures made

  by the Debtors, and Mr. Berger’s request for retroactive approval was denied in total. As a result,

  Mr. Berger was directed to return the payments his firm received to the Debtors and did so.180

  Thus, these failings were adequately addressed during the course of these cases.

         In sum, notwithstanding the proven lapses by Mr. Berger and the Debtors noted above,

  those lapses are not, in this Court’s view, sufficient to override the overwhelming will of creditors

  and the Debtors’ owners – the parties most affected by Mr. Berger’s management. Accordingly,

  the objections of the UST and Boraie to Mr. Berger and RMA continuing to serve as management

  of the Debtors are overruled.




 this issue. Also, there is no cash collateral order restricting the use of the Debtors’ funds. Thus, the UST did not
 provide sufficient proofs for the Court to determine whether or to what extent these payments were improper.
 180
     See Oct. 16, 2019 Order Denying Berger and Bornstein’s Entire Compensation Application of $43,320.85 and
 ordering disgorgement of $27,445.29 received, Dkt. No. 691.

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        5. The Bankruptcy Code Does Not Prohibit Cross-Collateralization, Nor Does It
           Violate the Absolute Priority Rule

             (i)     Cross-Collateralization is Not Prohibited by the Bankruptcy Code

        Boraie also argues that cross-collateralization is not permitted by the Bankruptcy Code,

 citing a series of cases that address debtor-in-possession financing arrangements where post-

 petition lenders seek to improve their prepetition undersecured position by cross-collateralizing

 their prepetition claim with Debtors’ property. See, e.g., In re Saybrook Mfg., Co., Inc., 963 F.2d

 1490, 1493 (11th Cir. 1992); In re Ellingsen MacLean Oil Co., Inc., 834 F.2d 599, 601 (6th Cir.

 1987); In re Gallegos Rsch. Grp. Corp., 193 B.R. 577, 586 (Bankr. D. Colo. 1995).

        As noted by the Debtors, other cases have, however, allowed cross-collateralization in the

 same post-filing, pre-confirmation context based on findings that the financing being cross-

 collateralized was necessary for the debtor to seek to reorganize and that without the financing,

 the debtor would be forced to liquidate and unsecured creditors would receive a greatly diminished

 recovery or no recovery at all. See, e.g., In re Vanguard Diversified, Inc., 31 B.R. 364, 366-67

 (Bankr. E.D.N.Y. 1983); In re Borne Chem. Co., Inc., 9 B.R. 263, 269-70 (Bankr. D.N.J. 1981);

 In re Roblin Ind., Inc., 52 B.R. 241, 244 (Bankr. W.D.N.Y. 1985).               Thus, while cross-

 collateralization may be discouraged in certain circumstances, it is “often used, and even courts

 that discourage it have approved its use.” See, e.g., In re Ellingsen MacLean Oil Co., Inc., 834 F.

 2d at 602, citing cases.

        Although these authorities are not directly on point here because we are at the plan

 confirmation stage, the cases that have allowed cross-collateralization apply by analogy here,

 where the cross-collateralization is a key provision of the Global Settlement that is the cornerstone

 of the Plan. As noted, the Global Settlement provides the Debtors with the opportunity to

 reorganize rather than liquidate, which would leave unsecured creditors with nothing. These

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 factors, along with the overwhelming support of the creditor body, weigh heavily in favor of

 approval of the cross-collateralization in the plan confirmation context. See, e.g., In re Vanguard,

 51 B.R. at 366 (cross-collateralization permitted where, without it, business would not survive and

 is in best interests of creditor body as a whole). Further, as is noted in the next section, sections

 1123(b)(3) and (a)(5) provide separate and sufficient independent authority for the cross-

 collateralization.

              (ii)    Section 1123(b)(3) Allows for Cross-Collateralization as Part of the Settlement
                      of Claims Against the Debtor

         This case is at the confirmation stage, and no application to approve preconfirmation

 financing under 11 U.S.C. § 364 is before the Court. Thus, none of the cases cited by the Debtors

 or Boraie as to the propriety of cross-collateralization under section 364 are directly applicable. In

 these cases, the Global Settlement, as incorporated into the Plan, provides for cross-

 collateralization (and substantive consolidation) as key components of the resolution of numerous

 multiparty, hotly contested litigations. That Global Settlement also avoids a liquidation that would

 result in no recovery at all to unsecured creditors. The Bankruptcy Code allows for -- and indeed

 encourages -- such settlements as part of the plan confirmation process. 11 U.S.C. § 1123(b)(3);

 In re Couture Hotel, 536 B.R. at 735 (consensual resolution of debtor-creditor disputes “clearly

 promotes the objectives and purposes of the Bankruptcy Code”).

         At this point, the distinction between post-petition financing under 11 U.S.C. § 364 and the

 cross-collateralization (and consolidation) provisions of the Global Settlement and Plan becomes

 significant as sections 1123(b)(3)(A) and 1123(a)(1)(B), which specify certain of the provisions a

 plan may contain, provide separate and independently sufficient authority to approve the cross-

 collateralization.




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                     a. Section 1123(b)(3)(A)

         Section 1123(b)(3) of the Code, entitled “Contents of Plan,” provides that a plan may:

                         (3)     provide for–(A) the settlement or adjustment of any claim
                                 or interest belonging to the debtor or to the estate.

         As was emphasized by the Debtors at the confirmation hearing, the extremely beneficial

 settlements with Sass, the EPA and Milltown would not have been possible without the cross-

 collateralization and substantive consolidation provisions. As a result of these settlements, Sass

 agreed to reduce its claim by more than $2 million, and the EPA agreed to reduce its claim by

 about $3 million. Both agreed to subordinate their claims to Milltown (which agreed to accept

 payment of taxes it was owed over time). Sass and the EPA further agreed to the respective

 priorities of the secured claims between themselves, but required cross-collateralization of their

 secured claims as a necessary component of their settlements. These settlements paved the way

 for the Plan which proposes to pay secured and unsecured creditors in full, with interest. They are

 also expressly authorized by the plain language of section 1123(b)(3) and encouraged by the

 Bankruptcy Code.

         Without the settlements, the Debtor would be liquidated. With a liquidation value of no

 more than approximately $7-8 million according to all sides (without considering the costs of a

 liquidation sale), and as low as $1.75 million, unsecured creditors would receive nothing, as the

 secured claims of Milltown, Sass and the EPA would far exceed the liquidation value of the

 Debtors’ Properties.     The only “winner” in the liquidation scenario would be Boraie, but

 exclusively in its capacity as Redeveloper, rather than as a creditor (where it would receive nothing

 on its claim). In fact, Boraie’s steadfast opposition to cross-collateralization and the related

 settlements is completely contrary to not only its interests as an unsecured creditor, but the interests

 of all other creditors in this case -- unsecured, priority, and secured. The Court will accordingly

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 approve the cross-collateralization provisions of the Plan, which are incorporated into the Global

 Settlement, as expressly authorized by section 1123(b)(3)(A), and as fair and equitable and in the

 best interests of creditors and the estate.181

                        b. Section 1123(a)(5)(B)

          Additional authorization for the cross-collateralization may be found in 11 U.S.C.

 § 1123(a), which provides in subsection (5)(B) that a plan shall:

                   provide adequate means for the plan’s implementation, such as - - (B)
                   transfer of all or any part of property of the estate to one or more
                   entities, whether organized before or after the confirmation of such
                   plan.

 Here, the Plan is providing for a “transfer”182 of the Debtor’s property through the

 cross-collateralization granted to Sass and the EPA as a means to implement the Plan. As noted,

 without the cross-collateralization, there would be no settlements and no Plan to confirm.

          Thus, the cross-collateralization provision is not only a necessary component of each

 individual settlement and the Global Settlement, but is also expressly permitted by the plain

 language of at least two specific Code provisions that apply in the context of plan confirmation.

 Cross-collateralization is also wholly consistent with the core Bankruptcy Code policies favoring

 settlements and reorganization. Because the cross-collateralization provisions (like substantive

 consolidation, which is discussed in the next section) are essential to the settlements that are the

 basis for the Plan, and because the settlements and “transfers” of the Debtors’ Properties are

 expressly permitted and encouraged by the Code in the Plan context, Boraie’s self-defeating (in its

 capacity as a creditor) objections to cross-collateralization are overruled.


 181
    See also section 9, infra.
 182
    Section 101(54) broadly defines a transfer to include: “(A) the creation of lien”; and “(D) each mode . . . of disposing
 or parting with (i) property or an interest in property.” Thus, the cross-collateralization provision falls squarely within
 the plain language of section 1123(a)(5), by creating a lien and transferring an interest in property.


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                (iii)    Section 1129(b)(2)(B)(i) is Also Satisfied

          Boraie also argues that the cross-collateralization provisions of the Plan violate the absolute

 priority rule and therefore are not permitted under the Bankruptcy Code. As to the absolute priority

 rule, section 1129(b)(2)(B)(i) provides that with respect to a class of unsecured claims,

                             i. The plan provides that each holder of a claim of such
                                class receive or retain on account of such claim property
                                of a value, as of the effective date of the plan, equal to
                                the allowed amount of such claim.

 11 U.S.C. § 1129(b)(2)(B)(i). Said another way, the absolute priority rule may be violated if a

 junior class of creditors or interests receives value before the prior class is paid in full. See

 generally, In re Greate Bay, 251 B.R. at 232.

          Under the Debtors’ Plan, however, unsecured creditors are entitled to receive payment of

 their claims in full, with interest. Those payments are to be made quarterly over six years, with a

 balloon payment due at the end of year six, unless there is a prior disposition of the Properties by

 sale or condemnation that allows for earlier payment in full of such claims, also with interest.183

 Thus, the absolute priority rule is not violated because unsecured creditors are receiving “property

 of a value, as of the effective date of the plan, equal to the allowed amount of such claim.”184

           For this additional reason, the cross-collateralization provisions of the Plan and Global

 Settlement are not prohibited by the Bankruptcy Code or the Absolute Priority Rule. Accordingly,

 Boraie’s objections in these regards are overruled.




 183
     See Fourth Modified Plan, Art. II.D.3, at 18-19, Treatment of Classes A9, B6 and C8, Dkt No. 482.
 184
     Secured creditors are not an issue because each of them is retaining their respective liens, and either settled with
 the Debtors or did not object to the Plan which provides for payment in full of their claims. Thus, section
 1129(b)(2)(A)(i)(I) is satisfied. Additionally, since Boraie is not a secured creditor, it does not have standing to object
 to the treatment of secured creditors under section 1129(b). See G-I Holdings, 420 B.R. at 255.

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          6. Substantive Consolidation is Permitted in the Circumstances of this Case, But Not
             Exclusively (and Temporarily) for Plan Confirmation Purposes

              (i)      The Owens Corning Standard for Substantive Consolidation is Satisfied

          There is no dispute as to the appropriate standard to be utilized in determining whether

 substantive consolidation is appropriate in this Circuit (if there is no creditor consent). Under the

 Third Circuit’s test established in In re Owens Corning, 419 F.3d 195 (3d Cir. 2007), the party

 seeking substantive consolidation (here, the Debtors) must show either that “(i) prepetition [the

 debtors] disregarded separateness so significantly that their creditors relied on breakdown of entity

 borders and treated them as one legal entity; or (ii) post-petition their assets and liabilities are so

 scrambled that separating them is prohibitive and hurts all creditors.”185 The proponent has the

 burden of showing either rationale is applicable. Opponents can defeat the first rationale once a

 prima facie showing is made that they actually relied on the separateness of the entities and will

 be adversely affected by substantive consolidation.186

          Boraie argues that neither standard is met, while the Debtors assert both are satisfied. In

 this case, the principal creditors and other parties-in-interest -- Sass, the EPA and Milltown and all

 creditors other than Boraie -- have all supported substantive consolidation directly or indirectly by

 voting in favor of the Plan, settling with the Debtors and/or not objecting to the Plan. Indeed,

 Sass and the EPA required substantive consolidation (and cross-collateralization) as part of their

 settlements. Only Boraie objects.187

          Mr. Berger testified at the confirmation hearing that the Debtors themselves, vendors and

 other creditors -- with the exception of the law firm from whom Boraie brought its claims – dealt


 185
     Id. at 211.
 186
     Id. at 212. No creditor or other interested party was called to testify that they relied on the separateness of the
 Debtor entities.
 187
     Boraie is not a creditor of SB Milltown, whose general unsecured creditors voted in favor of the Plan. Thus, Boraie
 has no standing to object to the substantive consolidation of SB Milltown. See nn. 168 and 184, supra.

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 with all three entities interchangeably or as one. For example, creditors routinely sent an invoice

 to one entity even though they were performing work for all three.188 Further, payments came

 from Realty Management Associates no matter which entity was invoiced.189 Mr. Berger testified

 that he himself made no distinction between the Debtor entities in managing their day-to-day and

 general affairs and that the Debtors’ Properties were treated as a single project.190 In fact, as

 pointed out by Boraie’s expert (and as was acknowledged by the Debtors), the creditor list in each

 case is virtually identical and the amount owed to each vendor was listed as being owed by each

 Debtor entity, resulting in an asserted overcounting of the amount and number of creditors of each

 entity.191 Further, since most of the remaining usable buildings are on the S B Building Property,192

 most of the rent generated by the Debtors was from S B Building and was used to fund expenses

 of Alsol and SB Milltown (albeit without Court approval as noted above).193                           In this Court’s

 view, these facts all weigh strongly in favor of substantive consolidation, as the Debtors

 themselves, their creditors and others almost uniformly treated them as one.

          This unity of corporate identities and general disregard of separateness extended to the

 Borough of Milltown and its Redevelopment Agreement with Boraie, which included the real

 property owned by all three Debtor entities and contemplated the redevelopment of all the Debtor-

 owned parcels. Similarly and necessarily, the Mount Laurel and related litigation in State Court

 included all three Debtor entities, who, of course, were represented by the same counsel. The


 188
     Trial Tr. vol. 2, 177:18-180:12; Trial Tr. vol. 9, 45:8-46:6.
 189
     Trial Tr. vol. 2, 180:13-25.
 190
     Id. at 180:120-181:9. The Court recognizes that Mr. Berger gave certain contrary testimony when being questioned
 by Boraie. However, the Court does not accept this testimony as credible or consistent with the economic and practical
 realities cited above. In other words, the Court believes and finds that the three Debtor entities were treated as one,
 by Mr. Berger and others, and does not find credible--or supported by the evidence--his limited testimony to the
 contrary. With this limited exception, no contrary testimony was offered.
 191
     Trial Tr. vol. 5, 31:22-34:15; 71:10-18; Trial Tr. vol. 10, 85:2-16. Nonetheless, to the extent overcounting of votes
 and amounts may have occurred, creditor approval was still overwhelming as only Boraie voted to reject the Plan.
 192
     Trial Tr. vol. 3, 16:20-22.
 193
     See generally, Monthly Operating Reports.

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 valuations of the Properties (for $7.65 million and $1.75 million) that were advanced by Boraie

 also treat the three Debtor Properties as one, rather than valuing them separately.194 Further, as

 was explained in n.168, unscrambling the values of these Properties would be difficult, if not

 impossible, and would be detrimental to creditors who treated the Debtors as one in any event.195

 The same would be true as to any effort to unscramble the operations and finances of these closely

 related entities.

          In sum, the separately owned Debtor Properties were effectively treated as one by all the

 Debtors, virtually all creditors and other interested parties alike, both pre- and post-filing.196

 Treating them separately would be unfair, unnecessary and in contradiction of the essentially

 uncontroverted facts and reality. It would also harm rather than benefit creditors if not approved,

 as their recoveries would be either greatly diminished (as to the secureds) or eliminated (as to the

 unsecureds) and result in additional and unnecessary expense.

          The Court also finds it significant that the EPA required substantive consolidation as part

 of its agreement to reduce its claim from $5.45 million to $2.45 million and accept a 28-month

 payment moratorium as well as payments over time.197 Sass similarly required substantive

 consolidation as part of its agreement to reduce its indebtedness from what is now more than $7.5

 million to $5.5 million. As noted, these settlements laid the groundwork for the Plan that proposes

 to pay creditors in full, with interest, and without which all unsecured creditors, including Boraie,



 194
     Apr. 24, 2018 Stipulation as to admissibility of June 13, 2017 Appraisal Report of Rosin & Associates, Dkt. 502;
 Nov. 6, 2019 Declaration of Mark B. Conlon, Esq., in support of motion to reopen record, Aug. 15, 2019 Appraisal
 of Lasser Sussman Assocs. LLC (commissioned by Milltown-Ford Avenue Redevelopment Agency), Ex. B, Dkt. No.
 699-1.
 195
     See also section 9, infra (as to gerrymandering concerns of Sass and EPA).
 196
     The fact that one law firm creditor, Archer & Greiner, P.C., happened to have treated two of the Debtors separately
 does not detract from the Court’s overall determination that the Debtors’ corporate separateness was effectively and
 necessarily disregarded by virtually all.
 197
     The EPA also asserted alter ego liability against all the Debtors in their proofs of claim and District Court
 Complaint. Trial Tr. vol. 2, 181:15-182:13.

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 would receive nothing. Thus, rather than resulting in unfair treatment of a particular group of

 creditors, as was the case in Owens Corning, substantive consolidation in this case will treat all

 similarly situated creditors equally, fairly and in a manner consistent with the way they dealt with

 the Debtors and the Debtors dealt with them pre- and post-petition. Accordingly, the Court finds

 that both prongs of the Owens Corning standard for substantive consolidation have been met.

                     (ii)   “Deemed” Substantive Consolidation is Not Permissible

              The Court agrees with Boraie, however, when it argues that the “deemed” consolidation

 for bankruptcy purposes only proposed by the Debtors’ Plan is not permissible under Owens

 Corning, 419 F.3d at 211-16. In fact, the Owens Corning court found a “deemed” substantive

 consolidation to be a “flaw most fatal” in that case.198

              This Court is bound by Owens Corning and will not order a “deemed” consolidation for

 bankruptcy purposes only, which the Court believes is an unauthorized procedural device designed

 to create temporary administrative convenience and unfair legal benefit for the Debtors. Either the

 Debtors meet the standard for substantive consolidation, or they do not. See In re Winn-Dixie

 Stores, Inc., 356 B.R. 239, 252, n.15 (Bankr. M.D. Fla. 2006); see also Owens Corning, 419 F.3d

 at 202. If they do, substantive consolidation, rather than “deemed” consolidation, is the required

 result. Here, the Court has found that the Owens Corning standard has been met. Thus, the Court

 will confirm the Plan with the requirement that the Debtors’ estates be substantively consolidated.

 True substantive consolidation requires that the separate legal entities be treated as one, with all

 the cumulative assets and liabilities merged or consolidated into one entity (except for inter-

 company liabilities, which are erased). In re Garden Ridge Corp., 386 F. Appx. 41, 43 (3d Cir.

 2010). The result is that claims against the consolidated survivor, which in this case will be S B



 198
       Id. at 216.

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 Building, include the claims against all the Debtor entities, with all assets similarly consolidated

 into S B Building.

          As noted, this substantive consolidation will benefit all creditors and will harm none of

 them, as all are to receive payment in full, even if any particular entity had insufficient assets to

 pay these claims. This result is not only fair and necessary to achieve the settlements and

 confirmation, but is also consistent with the economic, practical and legal realities of these cases.

               (iii)   The Approval of the Global Settlement and its Cross-Collateralization and
                       Substantive Consolidation Provisions in Connection with the Plan Are
                       Authorized by the Bankruptcy Court’s Core Jurisdiction and the Bankruptcy
                       Code’s Purpose

          Further support for this Court’s approval of the Plan, the Global Settlement and the

 cross-collateralization and substantive consolidation provisions they incorporate may be found in

 the Third Circuit’s recent opinion in In re Millennium Lab Holdings II, Inc., 945 F.3d 126 (3d Cir.

 2019), cert. denied, 140 S. Ct. 2805 (2020), where the Court upheld the Bankruptcy Court’s

 constitutional and core bankruptcy statutory authority to grant nonconsensual third-party releases

 in the context of a Plan of Reorganization over the constitutional and other challenges of the

 affected third parties.199 More specifically, the Third Circuit held that the Bankruptcy Court had

 the constitutional authority to confirm a plan granting nonconsensual third-party releases because

 the releases were “integral to the restructuring of the debtor-creditor relationship” – a core function

 of the bankruptcy process.200 The releases were critical to the success of the Plan because the

 funding for the Plan would not be provided without them.201 And, without that funding, the Plan




 199
     Id. at 137.
 200
     Id. at 137-140.
 201
     Id. at 137.

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 Settlement that provided a significant dividend to unsecured creditors could not be consummated,

 the Plan could not be confirmed, and the Debtors would be forced to liquidate.202

             Though this case and the Debtors’ Plan do not involve nonconsensual third-party releases,

 they are based on the Global Settlement incorporated in the Plan that significantly reduces the

 claims of various secured creditors, provides for their payment over time, and avoids years of

 costly and contentious litigation that had the potential to overwhelm the Debtors’ estates. The

 Global Settlement is integral to the Plan. Like the settlement in Millennium, it was heavily

 negotiated and allows the Debtors to proceed with their efforts to maximize the recovery to secured

 and unsecured creditors.         Without the Plan and the Global Settlement -- and the cross-

 collateralization and substantive consolidation provisions they include -- there would be no Plan,

 secured creditors would receive only a portion of their claims and administrative priority and

 general unsecured creditors would receive nothing. Of course, this is a far cry from the 100% Plan

 for all creditors proposed by the Debtors. Thus, like the Plan Settlement in the Millennium case,

 the Global Settlement and its cross-collateralization and consolidation provisions are integral to

 the Plan, and the resulting recoveries to secured and unsecured creditors.

             The broad authority of the Bankruptcy Court to approve settlements that advance the

 Bankruptcy Code’s goal of promoting settlements and reorganizations, as confirmed by the Third

 Circuit in Millennium, provides further support for the approval of the subordination and cross-

 collateralization provisions and, in turn, the Global Settlement.          In sum, the substantive

 consolidation (and cross-collateralization) provisions of the Global Settlement are authorized by

 the Bankruptcy Code, are in furtherance of its policies and objectives, and will be approved by this

 Court.



 202
       Id. at 129.

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       7. Boraie’s Argument That Payments To USLR To “Backstop” the Plan Will
          Constitute Fraudulent Transfers Is Premature

       Boraie argues that because USLR is at least equitably insolvent -- with more than $5

 million of unpaid judgment creditors -- any payments USLR makes to “backstop” the Debtors’

 Plan obligations would be constructively fraudulent transfers and may not be used to fund the

 Plan. Boraie further argues that the funds USLR uses to make these payments will come from

 insolvent affiliated entities, such as the rental income from 388 Route 22, a subsidiary of these

 Debtors, whose income was already pledged to pay that entity’s creditors and which is now in

 Chapter 7 liquidation. Thus, Boraie argues that the transfers from those affiliated entities to USLR

 to fund the Debtor’s Plan are constructively fraudulent based on lack of reasonably equivalent

 value and the insolvency of USLR and the affiliates. The Court disagrees.

       First, these claims (or defenses) are premature. The payments have not yet been made by

 USLR (or 388 Route 22) so this Court has no ability or duty to predict that they will be avoided

 as fraudulent transfers without knowing the precise circumstances of each potentially fraudulent

 transfer. See, e.g., In re R.M.L. Inc., 92 F.3d, 139, 153 (3d Cir. 1996) (determining reasonably

 equivalent value is a fact-sensitive inquiry requiring a review of all the relevant surrounding

 circumstances). Further, any such finding here would require the Court to issue an advisory

 opinion, which is not permitted. See, e.g., Coffin v. Malvern Sav. Bank, 90 F.3d 851, 853-54 (3d

 Cir. 1996).

       Next, there are various potential defenses to the potential fraudulent transfers claims,

 particularly by the entities receiving the transfers, i.e., these Debtors’ creditors who undoubtedly

 provided value for their prepetition claims against the Debtors at times when the Debtors were

 not in bankruptcy. Therefore, those creditors may have complete (or partial) defenses to any such

 fraudulent transfer claims as good faith transferees for value. See 11 U.S.C. §§ 548(c) and 550(b)

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 (Trustee may not recover from transferee that takes for value and in good faith and without

 knowledge of avoidability of transfer; transferee who takes in good faith and for value has a lien

 or may retain any interest transferred to the extent that the transferee gave value).

        Further, USLR and its affiliates could similarly have potentially viable arguments that they

 received reasonably equivalent value because the potential equity in the Debtors is being

 preserved. As has been noted by the Third Circuit, the value received by the transferring party

 need not be direct, tangible or even easily quantifiable. See In re R.M.L., 92 F.3d at 148-50; see

 also Mellon Bank, N.A. v. Metro Commc’ns, Inc., 945 F.2d 635, 647 (3d Cir. 1991), cert. denied,

 503 U.S. 937 (1992) (for example, “the ability to obtain substantial credit” and synergy expected

 to result from leveraged buyout may constitute reasonably equivalent value).

        Thus, this Court is not prepared to determine, nor can it realistically determine, months or

 years in advance whether transfers that have not yet occurred are constructively fraudulent. That

 fact-sensitive inquiry requires an analysis of the totality of the actual circumstances existing at

 the time of those transfers. The Debtors, USLR and the future transferees (i.e., the Debtors’

 creditors) may very well have viable and/or dispositive defenses to such claims. Accordingly,

 Boraie’s argument that the “backstop” funding provided by USLR will necessarily result in

 constructively fraudulent transfers is overruled.

        8. The Plan Is Fair and Equitable and Does Not Discriminate Unfairly As It Pays All
           Allowed Claims in Full Or As Agreed and Provides for the Same Treatment of All
           Similarly Situated Claims

        In another argument linked to feasibility, cross-collateralization and substantive

 consolidation, Boraie asserts that the fair and equitable and no unfair discrimination requirements

 of section 1129(b) have not been met and that the Plan is therefore not confirmable. Confirmation




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 under section 1129(b) is necessary according to Boraie because not all impaired classes voted to

 accept the Plan, as is required by section 1129(a)(8).

                   (i)      The Debtors Did Not Satisfy Section 1129(a)(8) and Are Therefore
                            Required to Satisfy Section 1129(b).

          As a preliminary matter, the Court agrees with Boraie that notwithstanding the fact that the

 nonaccepting, impaired classes – the EPA, Milltown and tax lien certificate holders – did not object

 to the Plan, section 1129(a)(8) expressly requires affirmative acceptance or nonimpairment, neither

 of which is present as to these claim holders. See also 11 U.S.C. § 1126(c) (which provides that

 with respect to any class of creditors, acceptance by two-thirds in amount and more than one-half

 in number of each is required); and Bankruptcy Rule 3018(c) (acceptance or rejection must be

 signed in writing). Based on the Supreme Court’s repeated mandate that the Bankruptcy Code be

 read in accordance with its plain language (unless those terms are ambiguous or would lead to an

 absurd result), this Court agrees with the majority of cases that hold that affirmative acceptance is

 required under section 1129(a)(8) and that the failure to object will not suffice.203 Compare In re

 Augusto’s Cuisine Corp., 2017 WL 1169537 at *7 (Bankr. D.P.R. Mar. 28, 2017); In re Townco

 Realty, Inc., 81 B.R. 707, 708 (Bankr. S.D. Fla. 1987); In re Vita Corp., 358 B.R. 749, 751 (Bankr.

 C.D. Ill. 2007) (all holding that, based on sections 1129(a)(8) and 1126(c) and/or Bankruptcy Rule

 3018(c), affirmative written acceptance is required) with In re Ruti-Sweetwater, 836 F.2d 1263,

 1267 (10th Cir. 1988) (holding that a failure to object may be a deemed acceptance);204 and In re

 Szostek, 886 F.2d 1405, 1406 (3d Cir. 1989) (failure to object may be a deemed acceptance in the


 203
     The Court acknowledges the Debtors’ argument that as to the EPA and Milltown, both of which have settled with
 the Debtors, their agreement to settle could be deemed to be an acceptance. It is not necessary for this Court to reach
 that argument, however, because other impaired classes, i.e., the tax lien certificate holders have not settled or voted
 to accept the Plan. Thus, affirmative acceptance by these classes is required, and the issue of whether the settlement
 of claims may constitute a “deemed” acceptance is left for another day.
 204
     The Ruti-Sweetwater case has been heavily criticized and is recognized as the minority view by COLLIER and
 numerous cases. 7 COLLIER ON BANKRUPTCY ¶ 1129.02 (Richard Levin & Henry J. Sommer eds., 16th ed.) and p.125
 (collecting cases).

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 Chapter 13 context, where creditors do not vote on a plan, making this line of cases readily

 distinguishable).

             Finally, the Ballot the Debtors mailed to creditors properly requires written acceptance (or

 rejection) by a date certain, in default of which “your vote will not be counted as either an

 acceptance or rejection of the [Plan].”205 Thus, confirmation of this Plan requires compliance with

 section 1129(b) according to the Bankruptcy Code and Rules, and the Debtors’ own Ballot.

                      (ii)     Section 1129(b) is Satisfied

             Next, Boraie argues that the Plan does not satisfy the “fair and equitable” and no unfair

 discrimination requirements of section 1129(b), relying principally on the asserted illegality of the

 substantive consolidation and cross-collateralization provisions of the Global Settlement and Plan.

 This Court has expressly rejected those two arguments in prior sections of this Opinion and does

 so again here for the same reasons. To the extent Boraie’s arguments in this regard go beyond

 substantive consolidation and cross-collateralization to other issues regarding feasibility (which is

 also discussed and fully addressed in another section of this Opinion) and general unfairness or

 inequity, those arguments are similarly rejected.

             Here, the Court must again take note of Boraie’s interests in voting against and objecting

 to the Plan. While Boraie’s purchase of claims in the Alsol and S B Building cases (but not in SB

 Milltown) certainly gives it standing to object in those two cases, that does not mean the Court

 cannot consider the circumstances surrounding its decisions to vote to reject and object to the Plan

 in determining whether the Plan is fair and equitable as to all creditors.

             Those circumstances include the following:

                     Boraie is the designated Redeveloper of the Debtors’ Properties and has
                      been deeply involved in heavily contested State Court litigation with the
                      Debtors for almost fifteen years.
 205
       Ex. D-6, Certification of Balloting, Dkt. No. 501.

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                    As represented by the Debtors on the record, and as will be required by this
                     Court in any event, the confirmation of this Plan and implementation of its
                     provisions will have no effect on the rights, claims and defenses of Boraie,
                     Milltown and the Debtors in the State Court Litigation.

                    Boraie submitted into evidence an appraisal of the combined Properties at
                     $7.65 million, without considering environmental costs.206 A later appraisal
                     by Milltown submitted in the State Court litigation and to this Court valued
                     the Debtors’ Properties (again jointly, but not individually) at $1.75 million.

                    Without accepting Mr. Berger’s valuation of the same Properties (which he
                     similarly did not and could not break down individually) of $20 million or
                     more, it is obvious that Boraie would rather pay far less than what Mr.
                     Berger believes the Debtors’ Properties are worth and prefer to avoid a long
                     and continuing fight with Mr. Berger and the Debtors in State Court over
                     valuation and condemnation issues. Thus, it is not surprising (or necessarily
                     inappropriate) that Boraie would rather deal with a Chapter 11 or 7 trustee
                     in seeking to acquire the Debtors’ Properties for as little as possible, as is
                     likely if the Plan is not confirmed. Nor is it inappropriate for the Court to
                     consider the apparent motivation for Boraie’s objections in determining
                     whether the Plan should be confirmed.

                    The secured claims of Sass (at least $7.5 million, plus accruing interest
                     before the Global Settlement and $5.5 million after) and the EPA ($5.45
                     million before the Global Settlement and $2.45 million with interest after)
                     by themselves will exceed the liquidation value of the Debtors’ Properties,
                     resulting in no dividend to unsecured creditors. Thus, Boraie’s objection is
                     contrary to its interests as an unsecured creditor, as it will be in a better
                     position as to its unsecured claims as soon as the Debtors make their first
                     payment under the Plan. Further, under any scenario, the possibility of
                     receiving payment in full on an unsecured claim is far better than receiving
                     nothing as a certainty and spending substantial legal fees to achieve that
                     result, as Boraie has undeniably done in this case.

                    Further evidencing its intent to derail the Debtors’ Plan without regard to
                     any recovery on its or any other unsecured claims in these cases, Boraie
                     argued that the Plan discriminated unfairly because the cross-
                     collateralization of the Sass and the EPA claims (and substantive
                     consolidation) would result in SB Milltown’s creditors receiving less than
                     they would in a liquidation. A primary problem with that argument is that
                     Boraie is not a creditor of SB Milltown, and thus does not have standing or
                     any legitimate reason to object as the treatment of SB Milltown’s creditors
                     – other than to frustrate the Debtors’ Plan. See nn.168 and 184 supra. In

 206
       Apr. 24, 2018 Stipulation as to admissibility of June 13, 2017 Appraisal Report of Rosin & Associates, Dkt. 502.

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                short, Boraie is again arguing against its interests as an unsecured creditor
                in favor of its interest as a Redeveloper who wants to pay as little as possible
                for the Debtors’ Properties.

               Additionally, because of the difficulty in separately valuing the Properties
                of each Debtor (due to, inter alia, the uncertainty of how many units would
                be approved as to each lot and how the price would be allocated as against
                each Property), the EPA and Sass sought cross-collateralization to prevent
                the Debtor from gerrymandering their secured claims against a property
                against which either or both did not have liens. The EPA and Sass agreed
                to substantially reduce their secured claims (by a total of approximately $5
                million) and subordinate their claims to Milltown, in exchange for the cross-
                collateralization and substantive consolidation that allowed the Debtors to
                propose a Plan that would pay unsecured creditors in full rather than receive
                nothing. Thus, besides its lack of standing to make this objection as to SB
                Milltown, Boraie’s forceful objections to relief that would allow its
                unsecured claims to be paid in full (or even in part) is directly in conflict
                with interests as a creditor—and the interests of all other creditors in this
                case. The only plausible explanation for Boraie’s vehement objections is
                that it is advancing its interests as a Redeveloper, whose motivation
                understandably and inevitably runs counter to the interests of all Debtors’
                creditors, secured and unsecured, including Boraie.

        For these reasons, the Court determines that Boraie’s objections based on the Plan not being

 fair and equitable are motivated not by its status as a unsecured creditor (where it would benefit

 from the Plan’s treatment), but as a Redeveloper who is willing to forego any recovery on its

 relatively small unsecured claim in exchange for the opportunity: (i) to pay millions of dollars less

 for the Debtors’ Properties; and (ii) to end years of costly and time-consuming litigation with Mr.

 Berger and co-Debtors.

        Turning to the fair and equitable requirement of section 1129(b)(2)(B) with respect to a

 class of unsecured creditors of which Boraie is part, the Plan satisfies subsection (i)’s requirement

 that the holder of such unsecured claims will “receive or retain on account of such claim property

 of a value, as of the effective date of the plan, equal to the allowed amount of such claim.” In this

 case, that treatment is payment in full with interest. As was noted previously, it is for these same




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 reasons that the Plan does not violate the absolute priority rule, as embodied in subsection (ii) of

 section 1129(b)(2)(B).

          In rejecting Boraie’s unfair and inequitable arguments, the Court finds that it is Boraie’s

 objections to the Plan, if sustained, that would result in unfair and inequitable treatment of

 unsecured creditors, who would receive nothing in the event of liquidation. Instead, under the

 Plan, general unsecured creditors have the prospect of payment in full, with partial payments

 beginning as soon as three months after the Plan’s Effective Date. Undoubtedly, that is why

 unsecured creditors either voted in favor of the Plan or did not object. And as is certainly

 appropriate in determining whether section 1129(a) and (b)’s “fair and equitable” requirements

 have been met, this Court will give far more -- and indeed dispositive -- weight to the will of the

 overwhelming majority of unsecured creditors, rather than that of a single unsecured creditor

 acting against the best interests of other unsecured creditors. Besides the fact that Boraie will be

 paid on its claim, the unfairness and inequity of Boraie’s position is further highlighted by the fact

 that if the Plan is confirmed, Boraie’s rights in the State Court Litigation will be unaffected. Thus,

 Boraie’s interests as Redeveloper are not in any way being adversely impacted by the Plan.

          In sum, the Plan not only provides for the same treatment for all similarly situated creditors,

 but also proposes to pay those creditors in full, with interest. That treatment satisfies the fair and

 equitable requirement of section 1129(b)(2)(B) with respect to the claims of unsecured creditors,

 including Boraie (in its capacity as such).              Section 1129(b)(2)(A) is satisfied as to secured

 creditors, who are retaining their liens and also receiving payment in full of their claims as asserted

 or settled, with interest.207 For all these reasons, Boraie’s objections to confirmation based on 11

 U.S.C. § 1129(b) are overruled.


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     Here again, as an unsecured creditor, Boraie has no standing to object to the treatment of secured creditors under
 section 1129(b)(2), who either voted in favor of the Plan, settled with the Debtors or did not object.

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        9. The Sass Settlement, the Milltown Settlement and the Global Settlement Are
           Approved Pursuant to 11 U.S.C. § 1123(b)(3) As Fair, Reasonable and in the Best
           Interest of Creditors

        As noted, the cornerstone of the Debtors’ Plan is the Global Settlement, which includes

 settlements with the EPA, Sass and Milltown and the Sass Settlement. These settlements resolve

 multiple, long-standing, complicated and hotly contested litigations and disputes between and

 among the key parties in these cases. Though not directly challenged by Boraie, the legality of

 these settlements was called into question principally on the basis of the substantive consolidation

 and cross-collateralization provisions described and approved above. Because of the separate and

 substantial additional benefits they provide, the Court will also separately analyze the settlements

 and approve them on the basis of the Martin standards, including particularly that the settlements

 are in the best interests of all creditors (in their capacity as such), and as further supporting the

 fundamental goals of Chapter 11 including in rehabilitating these Debtors, encouraging

 compromises and providing for a significant return to creditors.

        To summarize, at least the following litigations or controversies described below are being

 resolved pursuant to the Global Settlement and the related separate settlements with Sass and

 Milltown:

        State Court Litigation

                (i)     S B Building Associates, L.P., et al. v. Borough of Milltown, et al. (MID-L-
                        9439-06). This action was commenced in 2006 and related to the
                        development and redevelopment of the Debtors’ Properties, including
                        Mount Laurel development and condemnation.

                (ii)    S B Building Associates, L.P., et al. v. The Planning Board of Milltown, et
                        al. (MID-L-7215-13).

                (iii)   These cases spawned appeals to New Jersey’s Appellate Division and at
                        least one petition for certification to the New Jersey Supreme Court.




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      EPA Litigation and Claims:

             (i)     United States v. Alsol Corp., et al., Case No 2:09-cv-03025 (D.N.J.).
                     Settlement resolves the Debtors’ default under a Consent Decree (“Alsol I”)
                     and the Judgment obtained by the EPA against USLR for $896,751.79.

             (ii)    United States v. Alsol Corp. et al., Case No. 2:13-cv-00380 (D.N.J.) (“Alsol
                     II”) in which the EPA sought recovery of removal costs related to the
                     Properties from the Debtors under CERCLA. This litigation involved
                     extensive discovery, motion practice and appeals. The settlement reduces
                     the EPA’s total claim by approximately $3 million from $5.5 million to
                     $2.45 million with payments over six years under the Plan. The Alsol I
                     Judgment will also be resolved, with Mr. Berger guaranteeing the full
                     settlement amount of $2.45 million.

             (iii)   Proof of Claims Dispute. The EPA filed a disputed secured proof of claim
                     in the amount of $3,439,764 in these cases and asserted a lien on all the
                     Debtors’ Properties for that full amount based on inter alia alter ego and
                     veil-piercing theories. This claim is also resolved pursuant to the Global
                     Settlement.

             (iv)    Lien Priority Litigation. This case was commenced by the EPA in this
                     Court against Sass and Milltown (Adv. Pro. No. 15-2149). Here, the EPA
                     challenged the priority of the respective liens of Sass and Milltown,
                     asserting that its CERCLA lien was prior to both. The Debtors intervened
                     and the New Jersey State League of Municipalities appeared amicus curiae.
                     This complicated three-way priority dispute is also being resolved pursuant
                     to the Global Settlement.

             (v)     Motion for Appointment of Trustee. The EPA also sought the appointment
                     of a Chapter 11 Trustee in these cases that was vigorously opposed by the
                     Debtors. The EPA withdrew that motion as part of the Global Settlement.

      Sass Litigation and Claims

             (i)     Tax Sale Certificate Foreclosures. Early in these cases, Sass sought relief
                     from stay so it could proceed with the foreclosure of the tax sale certificates
                     it acquired. Those foreclosure actions were the impetus for the Debtors’
                     bankruptcy filings and are being resolved pursuant to the Sass and Global
                     Settlements.

             (ii)    Bid-Rigging Litigation. The Debtors commenced their own litigation
                     against Sass in this Court (Adv. Pro. No. 14-1582). This action challenged
                     the validity of Sass’s claims on various grounds, including the amount and
                     validity of those claims which included antitrust and RICO causes of action,
                     and sought forfeiture of Sass’s claims. Motions and cross-motions for

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                           summary judgment were filed and adjourned while the parties mediated
                           with former District Judge Orlofsky and then continued negotiations among
                           themselves. As part of the Global Settlement, Sass agreed to reduce its
                           secured claim from approximately $7.5 million at the Petition Date (and
                           over $8 million currently) to $5.5 million and agreed to payments over six
                           years, with no interest for a 27-month period and then a reduced interest rate
                           of 12% (from 18%). Sass also agreed that the liens of Milltown and the
                           EPA are senior to its liens.

            Tax Settlement with Milltown

                            The Debtors and Milltown entered into a Term Sheet that resolves
                            Milltown’s pre- and post-petition/preconfirmation real estate tax claims
                            and the Debtors’ pending 2016 and 2017 tax appeals, with payment due in
                            installments over five years.208

            Motions to approve all these settlements were made by the Debtors but objected to by

 Boraie and, at times, various other parties. The objections included arguments that the settlements

 and Global Settlement were sub rosa plans that should be considered as part of the Plan

 confirmation process. This Court agreed and deferred consideration of the settlements until Plan

 confirmation. We are now at confirmation, and the Court will approve those settlements for the

 self-evident reasons that follow.

            Before setting out the law relating to standards that must be met to approve the settlements,

 the Court re-emphasizes the obvious and substantial benefits that are derived from these

 settlements. They end years of multiparty, complex and costly litigation. The Debtors’ savings

 based on the Sass and EPA Settlements are well in excess of $5 million (at least $2.5 million as to

 Sass and approximately $3 million as to the EPA). These Settlements and the related savings

 allowed the Debtors to propose a Plan that proposed to pay secured and unsecured creditors in full,

 with interest. In contrast, if the settlements are not approved, all parties will likely be returned to

 their previous positions, the settlements will not become effective, the reduced claims will return



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       See Ex. D-3.

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 to their pre-settlement amounts and all these litigations will be reinstated.209 As a result, any hope

 for recovery by unsecured creditors would be lost.

          In this Court’s view, this is an instance of res ipsa loquitur, i.e., the thing speaks for itself.

 The benefits of these settlements to all creditors and equity holders not only speak for themselves

 in terms of substance and the propriety of their approval, but also highlight that the true motivation

 for Boraie’s substantial and vigorously pursued objections is not its position as an unsecured

 creditor, but its conflicting interests as Redeveloper.

          These settlements, including the Global Settlement, were previously brought to the Court

 for approval under Bankruptcy Rule 9019. As noted, the Court determined to defer approval until

 the Plan confirmation process, so that it could address the objections that the settlements generally

 and cross-collateralization and consolidation provisions specifically were unlawful and constituted

 a sub rosa plan. Those objections are now being addressed and overruled.

          The standards for approving a settlement are the same under both Bankruptcy Rule 9019

 and section 1123(b)(3). Settlements and compromises are “a normal part of the process of

 reorganization.” Protective Com. for Ind. Stockholders of TMT Trailer Ferry, Inc. v. Anderson,

 390 U.S. 414, 424 (1968) quoting Case v. Los Angeles Lumber Prods. Co., 308 U.S. 106, 130

 (1939). Though these Supreme Court cases predated the enactment of the Bankruptcy Code in

 1978, their core principles not only survive but are central components of the reorganization

 process, as now embodied in Bankruptcy Rule 9019 and section 1123(b)(3).

          A decision to approve or reject a proposed compromise or settlement falls within the

 court’s sound discretion. Key3 Media Grp., Inc. v. Pulver.com, Inc. (In re Key3 Media Grp., Inc.),


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     See, e.g., Global Settlement, Ex. D-2, ¶ 6 (settlement is effective upon entry of Order confirming Plan that
 incorporates Global Settlement); ¶ 9 (Global Settlement agreement is null and void if Chapter 11 Trustee is appointed);
 ¶ 10 (if Plan is not confirmed prior to January 1, 2019, any party may withdraw; however, no party has withdrawn in
 the intervening period of almost two years).

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 336 B.R. 87, 92 (Bankr. D. Del. 2005); see also In re Louise’s, Inc., 211 B.R. 798, 801 (D. Del.

 1997). When exercising such discretion, the bankruptcy court must determine whether the

 compromise is “fair, reasonable, and in the best interests of the estate.” Key3 Media Grp., 336 B.R.

 at 92; see also Fry’s Metals, Inc. v. Gibbons (In re RFE Indus., Inc.), 283 F.3d 159, 165 (3d Cir.

 2002); In re Louise’s, Inc., 211 B.R. at 801; In re Marvel Entm’t Grp., Inc., 222 B.R. 243, 249

 (Bankr. D. Del. 1998).

         Courts have consistently recognized that plan settlements under Section 1123(b)(3) of the

 Bankruptcy Code should be evaluated under the same “fair, reasonable and in the best interests of

 the estate” standard applicable to Bankruptcy Rule 9019 settlements. E.g., In re Aleris Int’l, Inc.,

 2010 WL 3492664, at *18 (Bankr. D. Del. May 13, 2010); Resolution Trust Corp. v. Best Prods.

 Co. (In re Best Prods. Co.), 177 B.R. 791, 794 n.4 (S.D.N.Y. 1995) (“[i]rrespective of whether a

 claim is settled as part of a plan pursuant to Section 1123(b)(3)(A) of the Bankruptcy Code or

 pursuant to a separate motion under Bankruptcy Rule 9019, the standards applied by the

 Bankruptcy Court for approval are the same”), aff’d, 68 F.3d 26 (2d Cir. 1995); In re Drexel

 Burnham, 138 B.R. at 758-59 (approving Plan that included substantive consolidation).

         In evaluating whether a proposed settlement is fair and equitable, courts in the Third Circuit

 consider the following four factors: (a) the probability of success in the litigation; (b) the

 difficulties, if any, to be encountered in the matter of collection; (c) the complexity of the litigation

 involved, and the expense, inconvenience and delay necessarily attendant thereto; and (d) the

 paramount interests of the creditors and a proper deference to their reasonable opinions. See Myers

 v. Martin (In re Martin), 91 F.3d 389, 393 (3d Cir. 1996); Aleris Int’l, 2010 WL 3492664, at *19;

 Key3 Media Grp., 336 B.R. at 93; In re Marvel, 222 B.R. at 249. To properly balance these values,

 the Court should consider all factors “relevant to a full and fair assessment of the wisdom of the



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 proposed compromise.” In re Marvel, 222 B.R. at 249 (quoting TMT Trailer Ferry, Inc., 390 U.S.

 at 424).

          Here, for the reasons previously stated, the settlements and the Global Settlement easily

 satisfy these standards. Years of complex and costly multiparty litigations whose results were

 uncertain are being resolved. Further discovery, motion practice and likely appeals are avoided.

 The settlements will not only end the substantial cost, uncertainty and delay inherent in litigation,

 but also result in substantial reductions of the secured claims against the Debtors (by more than $5

 million), with those reduced claims being paid over time. And, as was also noted and as is of

 paramount importance, the interests of creditors are best served by these settlements as they allow

 them an opportunity for not only a recovery, but also payment in full of their claims, rather than

 no recovery at all for unsecured creditors if the Debtors are liquidated. That the best interests of

 creditors are being served is further and amply demonstrated by their overwhelming approval of

 the Plan. Similarly, the interests of the estate and Debtors are well served by these settlements as

 they provide them with the ability to reorganize, pay creditors and attempt to protect their

 perceived equity in the Properties. Accordingly, the Global, Sass and Milltown Settlements are

 approved, and the objections to those Settlements are overruled.

    VI.        CONCLUSION

          For all the foregoing reasons, the Debtors’ Fourth Modified Plan of Reorganization is

 confirmed, subject to and conditioned upon the following modifications and specifications:

          1.      The Debtors’ estates shall be substantively consolidated into S B Building. The

 substantive consolidation of the Debtors shall be actual, and their respective assets and liabilities

 (except for inter-company liabilities) shall be combined. There shall be no “deemed” substantive

 consolidation.



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          2.       The treatment of all and each class of general of unsecured creditors shall be

 amended to include the following default provision:

               Event of Default: The following shall constitute an event of default solely as to the A9,
               B6, and C8 Classes of Claims: the failure to make any payment to any holder of a Class
               A9, B6 and C8 Claims when due, which Default is not cured within thirty (30) days
               after the receipt of Notice of Default from the holder of any such claim by the
               consolidated Debtors (the “Classes A9, B6 and C8 Cure Period”) in accordance with
               the Plan (the “Event of Default”). Upon the occurrence of an Event of Default and
               expiration of the Class A9, B6 or C8 Cure Period: (i) all obligations of the Debtors to
               the Class A9, B6 or C8 creditor whose claim is in default, including principal, accrued
               and unpaid interest, shall accelerate and become immediately due and payable; and (ii)
               the holder or holders of any such Class A9, B6 and C8 claim shall be permitted to avail
               themselves of all remedies available under state law, the Bankruptcy Code and this
               Plan.

          3.        All allowed Administrative Claims shall be paid on the Effective Date or as

 otherwise may be agreed by the applicable administrative claim holder. The escrow in the amount

 of $1.1 million held by Debtors’ counsel in connection with the case of In re Fin Associates (Case

 No 19-28386) shall be available to pay such Administrative Claims.

          4.       The Plan is modified to reflect and incorporate the revised commitment letter from

 United States Land Resources to the Debtors, marked and admitted into evidence as Exhibit D-8.

          5.       The respective rights, remedies, claims and defenses of the Debtors, Boraie,

 Milltown and any and all other parties involved in the State Court Litigation (as defined in this

 Opinion) are unaffected by the Plan and the Confirmation Order, and all such rights, remedies,

 claims and defenses are expressly preserved with respect to any and all such parties. 210



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     To the extent that the individual requirements for confirmation in section 1129(a) and (b) are not specifically
 addressed in this Opinion, the Court determines that those requirements were satisfied for the reasons set forth in the
 Debtors’ Memorandum of Law in Support of an Order Confirming their Plan [Dkt. No 637], and any remaining
 objections that are not specifically discussed in this Opinion are overruled on that basis. Further, to the extent that
 Boraie and/or the UST did not object to these other Plan confirmation requirements in their post-hearing submissions,
 those objections are waived. See, e.g., In re Millennium Lab Holdings II, LLC, 575 B.R. 252, 291-92 (Bankr D. Del.
 2017), aff’d, 591 B.R. 559 (Bankr. D. Del. 2018), aff’d, 945 F.3d 126 (3d Cir. 2019), cert. denied, 140 S. Ct. 2805
 (2020).


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        A separate Order confirming the Debtors’ Fourth Modified Plan with these conditions is

 being entered by the Court.



 Dated: November 6, 2020                           ________________________________
                                                   VINCENT F. PAPALIA
                                                   United States Bankruptcy Judge




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